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Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22   Page 261 of 518 PageID 4331   i   DEFENDANT'S
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Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22   Page 262 of 518 PageID 4332
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   DEFENDANT'S
  EXHIBIT NO. 271
               (Chart on Easel Paper)

             Original exhibit on file with the District Clerk.
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22   Page 278 of 518 PageID 4348




   DEFENDANT'S
  EXHIBIT NO. 272
               (Chart on Easel Paper)

             Original exhibit on file with the District Clerk.
           Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                       Page 279 of 518 PageID 4349

                                                        THE STATE OF TEXAS
                                                 DISTIUCT COURT, TARRANT COUNTY

                                                                      CITATION                            Cause No . 23I-493I21-11
                                                                                  OAG 001236760-7
                                             INRE: A R OLIVAS
                                                                        vs.                                             !   DEFENDANT'S
                                                Arlington                                                               ~     EXHIBIT
    TO: MECHELLE D GANDY
                                                                                                                       ~   21?
                                                                                                                       ~tlft111f=Lr


You said RESPONDENT are hereby commanded t o appe ar by fili ng a written answer to t he PETITION TO ESTABLISH THE
PARENT - CHI LD RELATIONSHI P at or before 10 o ' clock A. M. of t he Monday next af t er
t he expiraticm of 2 0 dayr. <t fte:· t:he dat" -,! se:.-vice her ..?f befc:-t·:. r:h" 23 '-s c Discri•·t Court
i n and for Tarrant County, Texas, at the Courthouse in the City of Fore Nor th. Tarrant County, Texas sai d PETITIONER
being


ATTORNEY GENERAL OF TEXAS


Filed in said Court on March 8th, 2011 Against
MECHELLE D GANDY


For s u it, s aid suit being numbered 231-493 121 - 11 the nature of which demand is as shown on said
PETITI ON TO ESTABLISH THE PARENT- CHILO RELATIONSHIP            a copy of which accompanies this c itation.



                                                                   CLINT S DUPEW
                                                     Attorney for ATTORNEY GENERAL OF TEXAS Phone No. ,(~17)80 1-3926
                                                     Address      1400 HILLCREST DR ARLINGTON, TX 76Q.!6
           Thomas A. Wilder             , Clerk of   the District Court of Tarran t County, Texas . Given und r'm~ hand and the seal
of sai d Court, at off ice in the City of Fort l'iorth, this the 9 th day of 11arch , 2011.



                                                                                         SCOTT ELLEDGE
~OTICE:    You   ~~ve   been sued. You may employ an a t t o rney . I f you or your attorney do not file a   v~itten   answer with the
clerk who issued t his citation by 10:00 ~~. on the ~on~ay next following t he expiration o f twenty days after you were
served t h is citation and petition, a default judgment r.: ..y he t:s.J<en aga.1.ns t: you . _
           Thomas A. Wilder, Tarrant County District Clerk, 200 E WEATHERFORD, FORT WORTH TX 76196-0402

                                                                  OFFICER'S RETURN
Received this Citation on the _ _ _ day of - - - - - - - - - - - -                             at        o ' clock _M; and executed at

--- - -- - - ----------------- - - - within the county of ---------------• State of --- - - a t ----                         o'clock_~!

o n the - -- - day of - --------------- · _ _ by deliveri ng to t he within named (Def.):
defendant(s), a true copy of this Citation togethe r with the accompanying copy o f PETITION TO ESTABLISH THE
PARENT -CrtiLO RELATIONSHIP. havi ng firs t endorsed on same the date of delivery.



                 Authorized Person/Constable/Sheriff:
                 County of ------------------------ State of ___ _ __               By ------------------------------ Deputy
Fees S_ _ _ __
State of                                                            (Must be verified i f served outs1de the Sta t e of Texas)
           ------------- County of - --------------- --- - - - -
s     -t and sworn to by t he said                                                          day of _ _ __
                                   ---------------------------------- before me this
t      .tify '"hich witness my hand and s eal of office
 (Seal)
                                                     County of - - - - - - - - - ---- - · Sta te o f




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           Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                                Page 280 of 518 PageID 4350



"NCPName:      THOMASJOLIVAS :.
~- CP Name:    MECHELLE D GANDY
   OAG Number: 0012367607
    LAC: PATY
                                                     CAUSE NUMBER                                --......,;   ___
        IN THE INTEREST OF
              "ASHER RION OLIVAS

        A CHILD                                                                           §           TARRANTCOUNTY, TEXAS

                            PETITION TQ.-ESTABUSH THE PARENT-CHILD RELATIONSHJP
   1.        The ATTORNEY GENERAL; pursuarit to _Texas Family Code Chapter 231, files this pleading for which
                       .             f



   discovery is intended to be co~ducted under Level2 ofRule 190, Texas Rul~s of Civil Procedure.
                                                          . JURISDICTION
   2.        No Court has continuing jurisdiction of this suit or of the child the subject of this suit. ·There are no
   court-o~dered conservatorships, guardi~ships, or other court-ordered relationships affecting the child the subject of this
   suit.
                                                                    CHILDREN
~3.          The following child is the subject of this ~it:

   ·Name                                                                                                      DOD                                Birthplace
    ASHER RION OLIVAS                                    M                                                    2/25/2010                          AR1JNGTON,T~.TX



            No property,' other than personal effects, is owned by any child the subject of this suit. .
                                                 · PERSONS ENTITLED TO NOTICE
                                             '
   4.       The child resides with the mother,· MECHELLE D GANDY, a resident of Texas. The ATTORNEY GENERAL
                             .   .       ~   :.      .    . ·•·   .~.···-·   ----..................._.. _... ...........
                                                                                                                ,          -...... , -.......... _...
                                                                                                                                   ....                 ,·-'-   •'''•"   ...........   ,.......   '•   ..   ,,   .
   requests the issuance and service of process·. on this perSon in accordance with the attached service information sheet.
   5.       The father of the child is THOfv!AS J OUVAS, a resident of Texas. The ATTORNEY GENERAL requests the
   issuance and service of process on this !person in accordance with the attached service infonnation sheet.
                                         ...., .DETERMINATION
                                                         .       OF PARENTAGE·
   6.       The Court should determine the parentage of any child who does not have an adjudicated, acknowledged, or
   presumed father. No presumption of p~temity exists unless specifically alleged herein. If any party denies parentage, the
   Court should immediately order parentage testing.. The Court should fix a reasonable fee for such testing if appropriate,
  order how such fee should be advanced, and tax the fee as court costs.
                                                         CONSERVATORSHIP
r_.         Because the· parents of the child are separated, the Court should appoint appropriate conservators pursuant to
  Texas Family Code§ 153.005.
            Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                       Page 281 of 518 PageID 4351



                                                         NAME CHANGE                 .i ·

('.         The Court should consider whether good cause exists to change the surname of the minor child to reflect
  parentage, if established, and enter an order concerning the name of the chi1d pursuant to Texas Family Code Chapter
  160.
                                            •.              SUPPORT
  9.        The Court should order appropriate current and retroactive child and medical supp()rt for the chil~ including
  temporary sUpport pursuant to Texas Family Code§§ 160.624 and 105.001. In determining the amount of retroactive
  support the Court should consid~ the duty of parents to support their minor child, and all applicable provisions of the
  Texas Family ~ode. In addition, the Court should order medical support, including any employment-related or other
  group health insurance that is available to the parent.
                                   WITHHOLDING FROM EARN1NGS FOR SUPPORT
  10.       The Court should order all suppo~ withheld from disposable earnings pursuant to Texas Family Code § 158.006.
  The Court should order all payments of support processed pursuant to Texas Family Code Chapter 231 for distribution
  according to law. If appropriate, the ~ourt should order THOMAS J OUVAS to post a bond or security.
                                    REQUEST FOR PRODUCTION OF DOCUMENTS
  11.      THOMAS J OL!VAShas in hi$. possession documents that wi1l show the natw'e and extent of his ability to pay
 ~d      sripport. The ATTORNEY GENERAL, purs~t to RUle 196, Texas Rules of Civil Procedure, requests him to
 ~·    .duce ~d permit the AITORNEY GENERAL to inspect and copy the originals, or true copies, of the foJlowing. .
  documents in his possession, custody ~r control: (a) his IRS federal tax returns for the past two years with all schedules
  included with ~e returns and all W-2s~~d 1099s attached to such returns, (b) any and all W-2 statementS, all1099s, and
  all documents showing income received by Respondent from ·any source for the two tax years preceding the date of filing
  of this action, (c) all payroll stubs~ vouchers, records of commissions and· all other written records or evidence of income
  received by him .within the last six months, (d) the most recent Social Security Administration :f~nn. SSA-7005, showing
  his income history, sent to him three months before his.last birthday~ (e)statelll~ts.of~ccounts for all checking or
  saving accounts in which he bas held an interest within the last six months, (f) all evidence (po1icies, premium schedules,
 records of premiums paid, etc.) of health insurance available at his place of employment that may provide coverage for
 dependent children, (g) copies of loan applications made within the last six months, (h) current statement of benefits and
 account balances for all retirement, pension, or profit-sharing plans in which the respondent has accrued or may accrue
 benefits, regardless if such benefits have vested, including but not limited to employer- or union-sponsored defined
 ·benefit or defined contribution plans   and individuaJ retirement accounts (IRAs), and (i) summary plan description of ail
 retirement, pension, or profit-sharing plans in which the respondent has accrued or may accrue benefits, regardless if such
 benefits have vested. The ATIORNEY GENERAL requests production of the specified documents at:
           The Office of the Attorney General
           CHILD SUPPORT UNIT 0904E
           1400 HILLCREST DR.
           ARLINGTON, TX 76010
    ..     Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                    Page 282 of 518 PageID 4352



     on or before 3:00p.m. on the 50th day foiJowing the date of service of this request.

r    12.
                                                 ATTORNEY FEES AND COSTS
             The Court should order THOMAS J OLIVAS to pay reasonable attorney fees and all other costs of this
     proceeding.
                                                             PRAYER
                                           1
             The ATTORNEY GENERAL prays that the Court grant all relief requested herein. The ATTORNEY
     GENERAL prays for general relief.
     Respectfully submitted,

     Greg Abbott
     Attorney General of Texas
                                            '•
     Daniel T. Hodge
     First Assistant Attorney G



   GENINE . W.      BN: 2~0
   DANA . CLARKE - SBN: 00785766
   JONATHAN W. FOX- SBN: 24050620
   DlANE CONINE- SBN: 09954500
"PATSY A. POOL SBN: 16119000     .·
\. CLINT S. DUPEW- SBN: 24040839 ·
     ASSISTANT ATTORNEY GENERAL .
     CHILD SUPPORT DIVJSJON OFFICE 9()4
     1400 HILLCREST DR                     :.
     ARLINGTON TX 76010                                                                                           ..
     Telephone No. (817)277-9805                                                                                  '
     Toll Free 1(800)687-8235
     Fax No. (817)277-7553
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         TARRANT COUNTY
Case 4:22-cv-00385-O          MEDICAL
                     Document 16-26       EXAMINER'S
                                    Filed 08/16/22       DISTRICT
                                                   Page 285 of 518 PageID 4355
          s·ERVING TARRANT, PARKER, & DENTON COUNTIES
                                         Investigator's Report
     CASE#: 1103616            Tarrant       TYPE: Jurisdiction        IDENTITY: Identified

     NIZAM PEER WANI, M.D.                                                  MICHAEL FLOYD
     CHIEF MEDICAL EXAMINER                            CHIEF FORENSIC DEATH INVESTIGATOR
     DECEASED: Mechelle D. Gandy
     ADDRESS: 2216 Presidents Corner #60 1, Arlington, Texas 76011
     AGE: 26                      BIRTH DATE: 7/20/1984            MARITAL STATUS: Unknown
     PHONE:                       RACE OR COLOR: White             SEX:F
     HEIGHT:                      WEIGHT:
     SSN:                         MANNER OF DRESS: Panties and sock
     OCCUPATION:
     PLACE OF EMPLOYEMENT:

     DATE OF DEATH: 3/20/20 II                TIME OF DEATH: 22:38
     PLACE OF DEATH DESCRIPTION: Front entry way
     ADDRESS OF DEATH: 2216 Presidents Corner #601, Arlington, Texas 76011
     HOSPITALIZED: No
     ADMIT DATE:               ADMIT TIME:
     ENVIRONMENT CONDITION: Gutted by fire
     CHARACTERISTIC OF PREMISES: Apartment
     DATE/TIME M.E. NOTIFIED: 3/21/2011 01:45
     ARRIVED: 3/21/20 II
     REPORTING PERSON: Sgt. Peron
     REPORTING AGENCY: Arlington Police Department
     ADDRESS: 610 W. Division St., Arlington, Texas 76011
     PHONE: (817)459-5600
     PRONOUNCED DEAD BY: Schmidt #10089
     PRONOUNCING AGENCY: AMR
     LAST TREATED BY:
     DATE/TIME OF OCCURENCE: 3/20/201 I 22:1 I
     INJURY AT WORK: NO
     PLACE OF OCCURENCE: Apartment
     LOCATION: 2216 Presidents Corner #60 1, Arlington, Texas 760 11
     TRAUMA RELATED: Yes
     IDENTIFIED BY: James Greenwell
     IDENTIFICATION TYPE: Visual
     DATE/TIME OF IDENTIFICATION: 3/21/2011 -Time: 02:20
     IDENTIFICATION STATUS: Positive ID
     COMMENTS: Detective Sgt. Fryer stated the decedent has been identified.
     ADDRESS:
     PHONE:

     NEXT OF KIN NOTIFICATION DATE/TIME:
     NOTIFIED BY:
     NOTIFYING AGENCY:
     NEXT OF KIN NAME:
     RELATIONSHIP:
     COMMENTS:
     ADDRESS:
     PHONE:
     BODY TO: TCMEO                                    CONVEYANCE: Lawson
     FUNERAL HOME:
                                                                                    3/21/201 1
                                                                                    Page 1
         TARRANT COUNTY
Case 4:22-cv-00385-O           MEDICAL
                     Document 16-26        EXAMINER'S
                                    Filed 08/16/22       DISTRICT
                                                   Page 286 of 518 PageID 4356
         SERVING TARRANT, PARKER, & DENTON COUNTIES
                                       Investigator's Report
     CASE#: 1103616          Tarrant       TYPE: Jurisdiction      IDENTITY: Identified

     NIZAM PEERWANI, M.D.                                             . MICHAEL FLOYD
     CHIEF MEDICAL EXAMINER                          CHIEF FORENSIC DEATH INVESTIGATOR

     NAME OF RELEASING AUTHORITY:

     RELATIONSHIP:

     DISPOSITION OF PROPERTY:


     MEDICAL INVESTIGATOR:
     James Greenwell  1:>/




                                                                                3/21/2011
                                                                                Page2
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                   TARRANT COUNTY MEDICAL EXAMINER'S DISTRICT
                    SERVING TARRANT, PARKER, & DENTON COUNTIES

                                        INVESTIGATOR'S REPORT


 NIZAM PEERWANI, M.D.                                    MICHAEL FLOYD
 CHIEF MEDICAL EXAMINER                                  CHIEF FORENSIC DEATH INVESTIGATOR
 Case Number: 1103616                                    Case Type: Jurisdiction
 DECEDENT'S NAME: Mechelle D. Gandy                                              AGE: 26
 ADDRESS: 2216 Presidents Corner #60 1, Arlington, Texas 76011
 BIRTH DATE: 7/20/1984         MARITAL STATUS: Unknown                           PHONE:

CASE NO. 1103616 Tarrant

The decedent is a 26-year-old White fen1ale who was apparently stabbed several tin1es, then left inside a
burning apartment. Arlington Fire Department pulled the decedent from the apartment and she was pronounced
at the scene. Arlington Police Department is investigating this as a homicide, with companion case# 1103617.

Arlington Police Detective Byron Stewart has requested trace evidence be completed on this case.

Photographs were taken of the scene.
Total# of photos: 90

DESCRIPTION OF BODY:

The body is viewed at the scene lying supine on a back board and covered with a sheet. The body is clothed in
panties and a sock. There is no evidence of invasive medical intervention present. Externally, the remains are
cool to the touch; rigor mortis is present, movable with applied force, and consistent with viewed position.
Lividity is not blanchable and consistent with viewed position. There appear to be multiple stab type wounds to
the chest and back of the decedent. Paper bags were placed on the decedent's hands at the scene.

MEDICAL HISTORY:

There is no known medical history for the decedent.

DETAILS OF INCIDENT:

This investigator responded to the scene, arriving at 0217 hours. I made contact with Detective Byron Stewart
of the Arlington Police Department who stated on Sunday, March 20 1h, 2011 at 2211 hours, Arlington Fire
Department responded to this location in reference to an apartment fire. Upon arrival, fire personnel observed
this apartment in flames, forced entry through the front door, and found the decedent on floor just inside the
door. Fire personnel pulled the decedent from the apartment onto the parking lot where paramedics attempted
life savings measures without success. Paramedics observed what they believed to be multiple stab type wounds
on the decedent's chest and back and she was pronounced at the scene. Detective Stewart requested the body be
preserved for trace evidence. Detective Stewart stated they are currently looking for the decedent's baby, a
white male named Asher Olivas, and the child's father, Thomas Olivas, HIM 008 11/2811982.

While at the scene, Arlington Fire Departtnent Arson Investigator Stephen Lea located the chard remains of an
infant in the back, southwest bedroom of the apartn1ent, companion case #II 03617. Lea stated the apartment
fire was started in this room and the door to the bedroom was closed. The child was in a chard crib when found
     Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22 Page 288 of 518 PageID 4358
                         Case No. I I 036 I 6 Tarrant County Medical Examiner's Office
and the body was badly burned. Detective Stewart requested the body of the baby also be preserved for trace
evidence and the possibility of an accelerant on the body.

I observed several blood splatters on the wall as I entered the apartment, on the front entry way floor and
kitchen floor. I bagged the decedent's hands and transport placed her in a white sheet, then inside a body bag.
The infant was also wrapped inside a white sheet and also placed inside a body bag.

DETAILS OF INSTRUMENT CAUSING INJURY:

At the time of this report, no weapon has been discovered and or recovered.

ORGAN TISSUE DONOR:

There is no signed consent form to allow harvesting of organs or tissue.

FOLLOW UP INVESTIGATIONS REQUIRED

No fo11ow-up investigation is needed at this time.

COMMENTS:

There was no property retnoved fr01n the decedent at the morgue. Arlington PD Crimes Against Persons Sgt.
Craig Fryer stated the decedents next of kin have been notified by police personnel but was not able to provide
their names at this time.



  ames K Gre nwell




                                                                                                   Page 2 of2
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         TARRANT COUNTY MEDICAL EXAMINER'S DISTRICT
         SERVING TARRANT, PARKER, & DENTON COUNTIES
                                        Investigator's Report

     CASE#: 1103617           Tarrant       TYPE: Jurisdiction      IDENTITY: Identified

     NIZAM PEERWANI, M.D.                                          MICHAEL FLOYD
     CHIEF MEDICAL EXAMINER                     CHIEF FORENSIC DEATH INVESTIGATOR
     DECEASED: Asher Rion Olivas
     ADDRESS:
     AGE: 1                      BIRTH DATE: 2/25/2010    MARITAL STATUS: Unknown
     PHONE:                       RACE OR COLOR: Unknown         SEX:M
     HEIGHT: 2' 2' 3"             WEIGHT: 19.6
     SSN:                         MANNER OF DRESS: Unknown
     OCCUPATION:
     PLACE OF EMPLOYEMENT:

     DATE OF DEATH: 3/2112011                 TIME OF DEATH: 03:00
     PLACE OF DEATH DESCRIPTION: Bedroom
     ADDRESS OF DEATH: 2216 Presidents Comer #601, Arlington, Texas 76011
     HOSPITALIZED: No
     ADMIT DATE:               ADMIT TIME:
     ENVIRONMENT CONDITION: Gutted by fire
     CHARACTERISTIC OF PREMISES: Apartment
     DATE/TIME M.E. NOTIFIED: 3/2112011 03:01
     ARRIVED: 3/21/2011
     REPORTING PERSON: Sgt. Peron
     REPORTING AGENCY: Arlington PD
     ADDRESS: 610 W. Division St., Arlington, Texas 76011
     PHONE: (817)459-5600
     PRONOUNCED DEAD BY: Stephen Lea #153
     PRONOUNCING AGENCY: Arlington Fire Department
     LAST TREATED BY:
     DATE/TIME OF OCCURENCE: 3/20/2011 22:11
     INJURY AT WORK: NO
     PLACE OF OCCURENCE: Apartment
     LOCATION: 2216 Presidents Comer #601, Arlington, Texas 76011
     TRAUMA RELATED: Yes
     IDENTIFIED BY: Roger Metcalf
     IDENTIFICATION TYPE: DNA
     DATE/TIME OF IDENTIFICATION: 3/29/2011 -Time: 09:45
     IDENTIFICATION STATUS: Positive ID
     COMMENTS: Decedent identified by UNT HSC DNA Lab via analysis and comparison of DNA
     samples.
     ADDRESS:
     PHONE:

     NEXT OF KIN NOTIFICATION DATE/TIME: 3/29/2011 09:45
     NOTIFIED BY: Metcalf
     NOTIFYING AGENCY: TCMED
     NEXT OF KIN NAME: Lester Hicks
     RELATIONSHIP: Grandfather
     COMMENTS:
     ADDRESS:
     PHONE: (817)375-8701
     BODY TO: TCMEO                           CONVEYANCE: Lawson
                                                                                 411112011
                                                                                 Page 1
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                                  Office of Chief Medical Examiner
                             Tarrant County Medical Examiner's District
                                        Tarrant County, Texas
                                 200 Fe!iks Gwozdz Place. Fort Worth, Texas 76104-4919
                                           (817) 920-5700 FAX (817) 920-5713


                             AUTOPSY REPORT
 Name: Mechelle Danielle Gandy                                       CASE NO: 1103616
 Approximate Age: 26 Years                                           Sex: Female
 Height: 67 Inches                                                   Weight: 267.6 Pounds

 I hereby certify that on the 21st day of March, 2011, beginning at 1100 hours, I,
 Shiping Bao, M.D., pursuant to Statute 49.25 of Texas Criminal Code,
 performed a complete autopsy on the body of Mechelle Danielle Gandy at the
 Tarrant County Medical Examiner's District Morgue in Fort Worth, Texas and
 upon investigation of the essential facts concerning the circumstances of the
 death and history of the case as known to me, I am of the opinion that the
 findings, cause and manner of death are as follows:

 FINDINGS:
    I.    Pronounced dead at the scene after found unresponsive in a burning
          apartment
    II.   No medical history reported
    Ill.  Body covered by soot with no thermal burn identified
    IV.   No soot identified in larynx or trachea
    V.    Postmortem chemical burns on neck and shoulders
    VI.   Seven stab wounds identified on back, 4 of which penetrate posterior
          pleural cavities, with penetration/perforation of right middle lobe, right
          lower lobe, and left lower lobe of lungs
    VII. Four stab wounds identified on right chest and right anterior shoulder, 2
          of which penetrate right anterior pleural cavity, with penetration of right
          ventricle of heart
    VIII. Three superficial incised wounds on left neck and forearm
    IX.   A 1.5" x 1.0" contusion lateral to left eye
    X.    Approximately 100 ml of blood in each pleural cavity
    XI.   Collapse of all lobes of lungs
    XII. Cholelithiasis
    XIII. Trace evidence and right 4th anterior rib collected
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!CAUSE OF DEATH:          MULTIPLE STAB WOUNDS

!MANNER OF DEATH:         HOMICIDE




                                          Shiping Bao, M.D.
                                          Deputy Medical Examiner


                                          Nizam Peerwani, M.D.
                                          Chief Medical Examiner



                     Signature·


                7~
                 >
                                          Gary L. Sisler, D.O.
                                          Deputy Medical Examiner


                                          Lloyd White, M.D., Ph.D.
                                          Deputy Medical Examiner
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22     Page 292 of 518 PageID 4362
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      Page 3 of7                                               --'-/~
                                                                   I.L---)___11 03616
                                                               Mechelle Oanielle Gandy


 A complete autopsy is carried out at the Tarrant County Medical Examiner's
 Morgue.


                    GROSS ANATOMIC DESCRIPTION


 I.       CLOTHING AND PERSONAL EFFECTS: The body is presented to the
          Morgue secured in a white body bag and clad in:
       1. White shorts
       2. A white left sock

 II.       THERAPEUTIC INTERVENTION: None

 Ill.   EXTERNAL BODY DESCRIPTION: The body is that of a normally
 developed adult white female appearing the stated age of 26 years with a body
 length of 67 inches and body weight of 267.6 pounds. The body presents
 medium build with average nutrition, normal hydration, and good preservation.
 Rigor mortis is complete, and lividity is well-developed on the posterior surfaces
 of the body and is fixed. The body is cold to touch post refrigeration and covered
 by soot. No thermal burn is identified. The head is covered by long, brown hair.
 The face is unremarkable. The injury is described below. There is average body
 hair of adult female pattern distribution. The eyes are closed with clear bulbar
 and palpebral conjunctivae. The irides are hazel with white sclerae. There are
 no cataracts or arcus present. Pupils are equal at 5 mm. The orbits appear
 normal. The nasal cavities contain soot with intact septum. The oral cavity
 presents natural teeth and contains soot. The ears are unremarkable with no
 hemorrhage in the external auditory canal. The neck is rigid due to postmortem
 changes, and there are no palpable masses. The chest is symmetrical with large
 breasts. The injuries are described below. The abdomen is moderately
 protuberant.

 The upper and lower extremities are equal and symmetrical presenting cyanotic
 nail beds without clubbing or edema. The injuries are described below. There are
 no fractures, deformities, or amputations present. External genitalia are those of
 an adult female with intact vulva and vagina. The back reveals dependent lividity
 with contact pallor. The buttocks are atraumatic, and the anus is intact. The
 integument is of normal color.
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                                                                        Mechelle Danielle Gandy

 TATTOOS:
      1.           Symbols are localized on back and legs
         2.        Letters are localized on left wrist

 IV.    EVIDENCE OF INJURY

        1.         Body covered by soot with no thermal burn identified
        2.         Postmortem chemical burns on neck and shoulders
        3.         Seven stab wounds identified on back, 4 of which penetrate
                   posterior pleural cavities:
              A.   Right back, inverted "V" shape, 3/4" + 1/2" long, with penetration of
                   right posterior 6th intercostal space and right middle lobe of lungs
                   (1/2" long)
              B.   Left back, 1.25" long, with penetration of left posterior 8th intercostal
                   space and perforation of left lower lobe of lungs (1/2" long)
              C.   Left back, 0.75" long, no penetration of pleural cavity
              D.   Left back, 1.75" long, with penetration of left posterior 11th intercostal
                   space
              E.   Right back, 0.75" long, no penetration of pleural cavity
              F.   Right back, 1.25" long, with penetration of right posterior ath
                   intercostal space and right lower lobe of lungs (1/2" long)
              G.   Right back, 2.25" long, no penetration of pleural cavity
        4.         Four stab wounds identified on right chest and right anterior
                   shoulder, 2 of which penetrate right anterior pleural cavity:
       (_~ A.      Right anterior shoulder, 1.5" long, no penetration of pleural cavity
         ~)B.      Right chest, 1.5" long, with penetration of right anterior 4th rib and
                   anterior right ventricle of heart (1/2" long)
       r~:)~C.     Right chest, 1.5" long, no penetration of pleural cavity
       ~- Right chest, 2.25" long, with penetration of right anterior 51h
             intercostal space
       5.    Approximately 100 mL of blood in each pleural cavity
       6.    Collapse of all lobes of lungs
       7.    Three superficial incised wounds on left neck and forearm:
          A. Left neck, 3.0" long
          B. Left anterior forearm, 1.5" long
          C. Left posterior forearm, 1.0" long
       8.    A 1.5" x 1.0" contusion lateral to left eye with a underlying 3.0" x 2.0"
             subgaleal hematoma
       9.    Trace evidence and right 4th anterior rib collected
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 V.     INTERNAL EXAMINATION

 1.    INTEGUMENT: A Y-shaped thoracoabdominal incision is made and the
 organs are examined in-situ and eviscerated in the usual fashion. The
 subcutaneous fat is normally distributed, moist and bright yellow. The
 musculature of the chest and abdominal area is of normal color and texture.

 2.     SEROUS CAVITIES: The injuries of chest wall and pleural cavities are
 described above. The peritoneum is congested, smooth glistening and
 essentially dry, devoid of adhesions or effusion. There is no scoliosis, kyphosis,
 or lordosis present. The left and right diaphragms are in their normal location
 and appear grossly unremarkable. The pericardia! sac is penetrated.

 3.     CARDIOVASCULAR SYSTEM: The heart weighs 342 grams and there is
 no chamber hypertrophy or dilatation. The injuries are described above. The left
 ventricular wall is 1.4 em and the right 0.4 em. The cardiac valves appear
 unremarkable. The coronary ostia are in the normal anatomical location leading
 into widely patent coronary arteries. Right dominant circulation is present. The
 endocardial surface is smooth without thrombi or inflammation. Sectioning of the
 myocardium presents no gross evidence of ischemic changes either of recent or
 remote origin. The aortic arch along with the great vessels appears grossly
 unremarkable.

 4.     PULMONARY SYSTEM: The neck presents an intact hyoid bone as well
 as thyroid and cricoid cartilages. The larynx is comprised of unremarkable vocal
 cords and folds, appearing widely patent without foreign material, and is lined by
 smooth, glistening membrane. The epiglottis is a characteristic plate-like
 structure without edema, trauma, or pathological lesions. Both the musculature
 and the vasculature of the anterior neck are unremarkable. The trachea and
 spine are in the midline, presenting no traumatic injuries or pathological lesions.
 No soot is identified in larynx or trachea. ·

 The lungs together weigh 501 grams. The injuries are described above. There
 are no gross pneumonic lesions or abnormal masses identified.           The
 tracheobronchial tree and pulmonary arterial system are intact and grossly
 unremarkable. The pleural surfaces are pink and smooth with focal mild
 anthracosis.

 5.    GASTROINTESTINAL SYSTEM:            The esophagus is intact with normal
 gastroesophageal junctions and without erosions or varices. The stomach is also
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                                                               Meche lie Oanielle Gandy

 normal without gastritis or ulcers, and contains food particles. Loops of small
 and large bowel appear grossly unremarkable. The appendix is unremarkable.

 The liver weighs 1894 grams presenting a brown smooth glistening surface.
 Focal patchy yellow discoloration due to mild fatty metamorphosis is present. On
 sectioning the hepatic parenchyma is yellow-brown, homogeneous and
 congested. The gallbladder contains approximately 5 ml of greenish bile and
 two 1.0 em diameter yellow stones. There is no cholecystitis. The biliary tree is
 patent. The pancreas weighs 178 grams and presents a lobulated yellow cut
 surface without acute or chronic pancreatitis.

 6.     GENITOURINARY SYSTEM: The left kidney weighs 123 grams, and the
 right 131 grams. On sectioning the cortex presents a normal thickness above the
 medulla. The renal columns of Bertin extend between the well-demarcated
 pyramids and appear unremarkable. The medulla presents normal renal
 pyramids with unremarkable papillae. The pelvis is of normal size and lined by
 gray glistening mucosa. There are no calculi. Renal arteries and veins are
 normal. The ureters are of normal caliber lying in their course within the
 retroperitoneum and draining into an unremarkable urinary bladder containing
 approximately 30 ml of urine.

 External genitalia are those of an adult female with intact vulva and vagina. A
 medical device is localized in uterus. The cervix, fallopian tubes and ovaries are
 unremarkable.

 7.    HEMATOPOIETIC SYSTEM: The spleen weighs 222 grams, presenting a
 gray-pink intact capsule and a dark red parenchyma.    There is no
 lymphadenopathy. The thymus gland is involuted.

 8.    ENDOCRINE SYSTEM: Thyroid gland is of normal size and shape,
 presenting two well-defined lobes with connecting isthmus and a beefy brown
 cut-surface. There are no goitrous changes or adenomas present. The adrenal
 glands are of normal size and shape and sectioning presents no gross
 pathological lesions.

 9.   CENTRAL NERVOUS SYSTEM:                   A scalp incision, craniotomy and
 evacuation of the brain are carried out in the usual fashion.

 The injury of the scalp is described above. The calvarium is intact without bony
 abnormalities or fractures.
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 The brain weighs 1098 grams presenting moderate congestion of the
 leptomeninges. Overlying dura is intact and unremarkable. Cerebral hemispheres
 reveal a normal gyral pattern with moderate global edema. The brainstem and
 cerebelli are normal in appearance with no evidence of cerebellar tonsillar
 notching. The Circle of Willis is patent, presenting no evidence of thrombosis or
 berry aneurysm. On coronal sectioning of the brain the ventricular system is
 symmetrical and contains clear cerebrospinal fluid.         There are no space
 occupying lesions present. Spinal cord is not examined.




               SPECIMENS AND EVIDENCE COLLECTED


 1.    30 ml of aortic blood, 30 ml of urine, and 5 ml of vitreous for further
       examination
 2.    Representative tissue sections in formalin for possible further examination
 3.    Blood cards
 4.    Representative photographs
 5.    Finger and palm prints
 6.    Right 4th anterior rib in formalin


 EDC: 05/20/11
 Completed: 03/22/11
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                                          ABSTRACT     OF 08/16/22 Page 299 of 518 PageID 4369
                                                           DEATH CERTIFICATE
                                                                                                                                                                                                                                    :<
       STATE OF TEXAS                                                                                                                                    STATE FILE NUMBER
                   ENTER NAME OF DECEASED AND PLACE OF DEATH EXACTLY AS SHOWN ON THE ORIGINAL DEATH CERTIFICATE
       1. LEGAL NAME OF DECEASED (Include AKA's, if any) (First. Middle. Last)                                                                                             DATE OF DEATH

       MECHELLE DANIELLE GANDY                                                                                                                                                                    03/20/2011
       PLACE OF DEATH(CITY OR TOWN AND COUNTY)                                                                                                                             IS THE DATE OF DEATH BEING CORRECTED?
                                                                                                                                                                                0   Yes       0    No
       ARLINGTON, TARRANT
       26. CERTIFIER (Check only one)



                                                                                                             r·                                       r·                             r·
        0        Certifying physician-To lhe best of my knowledge, death occurred due to the cause(s) and manner stated.
        181      Medical ExaminedJusticc of lhe Peace ·On the basis of examination, and/or investigation, in my opinion, death occured at the time,date and place. and due to lhe causo(s) and manner stated.
       27.Signature of cettlfier:                                                                                 DATE CERTIRED (Mo/OayNOM)                UCENSE NUMBER                  TIME OF OEATH(Aduol"' PM"'medl

       SHIPING BAO                                                                                                         3/22/2011                             N2395                                   22:38 PM
       31. PRINTED NAME. ADDRESS OF CERTIFIER (Street and Number, City,state,Zip Code)
                                                                                                                                                                                          ~~·TITLE OF CERTIRER
       SHIPING BAO 200 FELIKS GWOZDZ PLACE, FORT WORTH, TX, 76104                                                                                                                         MD
                 33. PART 1. ENTER THE CHAIN OF EVENTS ·DISEASES, INJURIES. OR COMPLICATIONS. THAT DIRECTLY CAUSED THE DEATH. QQ.J:iQI ENTER                                                            Approximate interval
                 TERMINAL EVENTS SUCH AS CARDIAC ARREST, RESPIRATORY ARREST. OR VENTRICULAR FIBRILLATION WITHOUT SHO\I\IING THE                                                                         Onset to death
                 ETIOLOGY. DO NOT ABBREVIATE. ENTER ONLY ONE CAUSE ON A LINE.
        ...<J:
        w IMMEDIATE CAUSE (Final
        0 disease or condition - >               a.   MULTIPLE STAB WOUNDS                                                                                                                               UNKNOWN
        u.
        0 resulting In death)                                                           Due to (or as a consequence of):
        w
        (/)
        ::;:,
        < Sequentially list conditions, if b.
        (.)      any, leading to the cause                                              Due to (or as a consequence of):
                 listed on line a. Enter the
                 UNDERLYING CAUSE
                 (disease or injury that         c.
                 initiated, the events resulting                                        Due to (or as a consequence of):
                 In death) LAST

                                                 d.
       PART 2. Enter other significant conditions contributing to death but not resulting in the underlying                                                         34. WAS AN AUTOPSY PERFORMED?
       cause given in PART I.                                                                                                                                               181 Yes  0 No
                                                                                                                                                                    35. WERE AUTOPSY FINDINGS AVAILABLE TO
                                                                                                                                                                    COMPLETE THE CAUSE OF DEATH?
                                                                                                                                                                                                 181 Yes                   0   No
       36. MANNER OF DEATH            37. DID TOBACCO USE                                        38. IF FEMALE:                                                                39. IF TRANSPORTATION INJURY, SPECIFY:
        0 Natural                     CONTRIBUTE TO DEATH?                                        0 Not pregnant within past year                                               0   Driver/Operator
        0 Accident                     0 Yes                                                      0     Pregnant at time of death                                               0   Passenger
        0 Suicide                      181 No                                                     0     Not pregnant. but pregnant within 42 days of death                      0   Pedestrian
        181 Homicide                   0Ptobably                                                  0     Not pregnant. but pregnant 43 days to one year before death             0   Other (Specify)
        0 Pending Investigation        0 Unknown                                                  181   Unknown if pregnant within the past year
        0 Could not be determined
       408. DATE OF INJURY (Mo/Oay/Yr) 40b. TIME OF INJURY                      rOc. INJURY AT WORK? rOd. PLACE OF INJURY (e.g, Oecedenfs home, construction site, restaurant, wooded area)
<D                     03/20/2011                          22:38 PM              0   Yes          181   No    DECEDENTS HOME
0
0
~
       40e. LOCATION (Street and Number, City.State.Zip Code)                                                                                                              rOf. COUNTY OF INJURY
....   2216 PRESIDENTS CORNER, # 601, ARLINGTON, TX, 76011                                                                                                                 TARRANT
       41. DESCRIBE HOW INJURY OCCURRED


       MULTIPLE STAB WOUNDS
       42a. REGISTRAR FILE NO.                        42b. DATE RECIEVED BY LOCAL REGISTRAR                       42c. REGISTRAR


                                                                                                        <




                                                                                                                                                                                    DATE ________________
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    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                           Page 300 of 518 PageID 4370



*                                             Toxicology Test Results

        Office ofChiefMedical Examiner                            Nizam Peerwani, M.D., DABFP
        Toxicology Laboratory Service                             Chief Medical Examiner
        200 Feliks Gwozdz Place                                   Susan R. Howe, PH.D., DABFT
        Fort Worth, Texas 76104                                   Acting Chief Toxicologist
        Name: Mechelle_,.Danielle Gandy                           Priority: 0
        Case Number:/1103616                                      Service Request Number: 002
        Toxicology w{ork Number:· 1100607


       Specimen             Drug                                    Result      Drug Amount     Performed By
       AORTA BLOOD          ETHANOL AxSYM                           NEGATIVE                    B. LANDRY
       URINE                CANNABINOIDS AxSYM *                    POSITIVE                    B. LANDRY
       URINE                COCAINE AxSYM                           NEGATIVE                    B. LANDRY
       URINE                OPIATES AxSYM                           NEGATIVE                    B. LANDRY
       URINE                AMPHETAMINES AxSYM                      NEGATIVE                    B. LANDRY
       URINE                BENZODIAZEPJNES AxSYM                   NEGATIVE                    B. LANDRY
       AORTA BLOOD          CARBON MONOXIDE                         POSITIVE    1.8%            B. LANDRY
       URINE                NAPROXEN                                POSITIVE                    S. BOTCH
       URINE                ACETAMINOPHEN                           POSITIVE                    S. BOTCH


      . *THIS SCREEN IS NOT CONFIRMED




       Approved By:   - -t:b~·~" - =-v. .;. ."""--??J
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       Approved Date:
                            i/;?-/11
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                  Page 301 of 518 PageID 4371


                             Toxicology M.E. Request Form

   Name: Mechelle Danielle Gandy                    Tox Number: 1100607
   M.E. Case Number: 1103616                        Date of Inquest: 3/21/2011 2:49:48 PM
   Date of Death/Found: 3/20/2011 10:38:00 PM       Hospitalization: No
   Prosector: Shiping Bao, M.D.                     Medications: No
   Hospital Name:                                   Priority: 2

   Test Requested:
   (x) ABN Screen
   (x) Amphetamine and Benzodiazepines Screen
   (x) Ethanol
   (x) Opiates, THC, Cocaine Screen



   Remarks:




    Blood, Aorta
                                      Milliliters
   Urine                              30.00
                                      Milliliters
   Vitreous Humor                     5.00            110321109
                                      Milliliters




   Cause of Death: MULTIPLE STAB WOUNDS
   Method of Death: HOMICIDE

                                                          Date:    .5 -cJ;J -1! (] f?3c)
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.NMS                                                           NMS Labs                                     CONFIDENTIAL
                                       3701 Welsh Road, PO Box 433A. Willow Grove. PA 19090-0437
                                              Phone: (215) 657-4900 Fax: (215) 657-2972
         L- -- --~-~l. ___;                             e-mail: nms@nmslabs.com
                                     Robert A Middleberg, PhD. DABFT. DABCC-TC. Laboratory Directa



Toxicology Report                                                        Patient Name         GANDY, MECHELLE
                                                                         Patient 10           ME#1103616
Report Issued 11/21/2011 08:34
                                                                         Chain                11062971
Last Report Issued 11/17/2011 16:00                                      Age                  26Y
  To:        10147                                                       Gender               Female
             Tarrant County Medical Examiner                             Workorder            11314807
             Office of the Medical Examiner                                Page 1 of 2
             200 Feliks Gwozdz Place
             Fort Worth, TX 761 044919



 Positive Findings:

         Compound                                              ~                                     Matrix Source
         Carboxyhemoglobin                                     8.4                  %                Aortic Blood


        See Detailed Findings section for additional information

 Testing Requested:
        Analysis Code                            Description
        10028                                    Carbon Monoxide Exposure Biouptake Screen, Blood
        13808                                    Cyanide, Blood

 Tests Not Performed:
   Part or all of the requested testing was unable to be performed. Refer to the Analysis Summary and Reporting Limits
   section for details.


 Specimens Received:
        10     Tube/Container              Volume/       Collection            Matrix Source               Miscellaneous
                                           Mass          Date/Time                                         Information
        001 Red Vial                       4ml           03/21/201111:00       Aortic Blood

        All sample volumes/weights are approximations.
        Specimens received on 11111/2011.




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                                                                        Chain
                                                                        Patient 10
                                                                                           11062971
                                                                                           ME#1103616

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  Detailed Findings:
                                                                               Rpt.
   Analysis and Comments            Result                      Units          Limit        Specimen Source             Analysis By

   Carboxyhemoglobin                8.4                         %              2.0          001 -Aortic Blood           SP

   Other than the above findings, examination of the specimen(s) submitted did not reveal any positive findings of
   toxicological significance by procedures outlined in the accompanying Analysis Summary.

 Reference Comments:
   1.     Carboxyhemoglobin (COHb) -Aortic Blood:
            Hemoglobin is a protein found in red blood cells that is responsible for the oxygen carrying capacity of blood. In
            normal conditions, hemoglobin receives oxygen via blood circulation through the lungs and delivers the oxygen
            to tissues and organs throughout the body. In situations where the inspired air is high in carbon monoxide
            concentration, the hemoglobin then binds the carbon monoxide in place of oxygen. This leads to a functional
            deficiency in oxygen delivery to the organs and tissues of the body.

            Measurement of carbon monoxide hemoglobin saturation gives an indication of the carbon monoxide
            concentration in the inspired air and its possible sequelae. Normal endogenous carboxyhemoglobin levels are
            generally up to 4% in non-smokers and up to 8% in smokers (although it may be higher); toxic symptoms may
            be noted at levels >10%. Concentrations over 10% saturation have been reported to produce adverse effects,
            e.g., headache and nausea. Deaths from carbon monoxide, in the absence of resuscitative measures,
            generally have associated carboxyhemoglobin levels >40%. However, individuals with a compromised
            cardiovascular system are at a potentially greater risk of toxic effects at much lower carbon monoxide
            hemoglobin saturation values.

   Chain of custody documentation has been maintained for the analyses performed by NMS Labs.

   Unless alternate arrangements are made by you, the remainder of the submitted specimens will be discarded six (6)
   weeks from the date of this report; and generated data will be discarded five (5) years from the date the analyses were
   performed.

                                                                                 Workorder 11314807 was electronically
                                                                                 signed on 11/171201115:32 by:
                                                                                    ./1.   ,.. .. ~
                                                                                                      c)•
                                                                                 Laura M. Labay, Ph.D., OABFT, DABCC-TC
                                                                                 Forensic Toxicologist

 Analysis Summary and Reporting Limits:

   Acode 1002B- Carbon Monoxide Exposure Biouptake Screen, Blood- Aortic Blood

        -Analysis by Spectrophotometry (SP) for:
          Compound                                 Rpt. Limit                Compound                              Rpt. Limit
          Carboxyhemoglobin                     2.0%

   Acode 1380B - Cyanide, Blood - Aortic Blood

        -Analysis by Spectrophotometry (SP) for:
          Compound                                 Rpt. Limit                Compound                              Rpt. Limit
          Cyanide                            N/A
          Testing Not Performed: Test was canceled due to (Sample Matrix Problem].


                                                                                                                                      v.8
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                                                                           Eclucat ion. Research.
                                                                          P,u irnt CarP and Service



                                         Missing Persons DNA Database Report


 March 28, 2011

 UNTCHI Case Number 1: 11-0547
 UNTCHI Case Number 2: 11-0548

 Submitting Agency:
 Roger Metcalf, DDS
 Tarrant County Medical Examiner
 200 Feliks Gwozdz Place
 Fort Worth, TX 76104                                        ..          . . -----~

 Agency Case Numbers: 11036"~6~ 1103617                                                            )
 NCIC Number: Not provided   ~
 Nam Us Number: Not provided


 ITEMS RECEIVED

 Received from Roger Metcalf, DDS on March 23, 2011 :
           11-0547.1                Family Reference Sample, Mecbelle Gandy, representing the
                                    mother of a missing person, Asher Olivas

          11 -0548.1                Unidentified Remains Sample, blood card


 TESTING PERFORMED

 Human DNA extracted from item 11-0548.1 was analyzed for thirteen (13) genetic loci
 using the Applied Biosystems AmpFfSTR Profiler Plus ID and COfiler systems; human
 DNA extracted from item 11-0547.1 was analyzed for fifteen (15) genetic loci using the
 Applied Biosystems AmpFfSTR ldentifiler system.

 The genetic data obtained from items 11-0548.1 and 11-0547.1 were uploaded into the
 Unidentified Human (Remains) and Relatives of Missing Person indices of the
 Combined DNA Index System (COOlS). An association between these samples was
 noted.
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                                         lnslllllll'\   for IJ£>c'lll'l'l'\   •   l 'nnl'r>ll)' of Nonil   T~xas   Pil\'SICillll' l;wu(>
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March 28, 2011
UNTCHI Case Numbers: 11-0547,11..0548
Agency Case Numbers: 1103616, 1103617
Missing Persons DNA Database Report


RESULTS

The genetic data obtained from items 11-0548.1 and 11-0547.1 are consistent with the
unidentified human remains belonging to a biological child of Mechelle Gandy.

These genetic data (autosomal STRs) are approximately 1.1 million times more likely
to be observed under the scenario that the unidentified remains originated from a
biological child of Mechelle Gandy as opposed to the unidentified remains originating
from an unrelated individual from one of the three major U.S. population groups (African
American, Caucasian and Southwestern Hispanic). 1

The submission of additional first-order relatives could significantly increase the above
statistical calculation. If additional statistical weight is needed, please contact the
laboratory to determine which first-order relatives would provide the most informative
comparisons.

 Investigators are strongly encouraged to evaluate all associated case information in
 addition to the provided genetic results before declaring identity of the remains.

 In the event that an identification is rendered by the appropriate legal authority, a copy
 of the death certificate must be submitted to the laboratory so that all genetic data
 obtained from the associated family reference sample(s) can be expunged from the
 COOlS database.

 The remainder of the reference items and a portion of the submitted remains will be
 maintained by the UNT Center for Human Identification laboratory. Remaining items
 will be returned to the original submitting agency.

 In the event that you have any questions or if we can be of further assistance, please
 feel free to contact the laboratory at 817-735-2143.

 The above is the opinion of the undersigned, and this report shall not be reproduced
 without verbal or written permission.
 1
     Allele frequency data obtained from Budowle et.al, J Forensic Sci 1999; 44(6):1277-1286.


 Sincerely,               .A                                                                           '
     t/JJ-;)j_/ VI~
 o~:;fers
 Technical Leader
                                                                               ~d~ez
                                                                                 Forensic Analyst/Report Rev
 UNT Center for Human ID                                                         UNT Center for Human ID
                                                          End of Report




                                                              Page 2 of2
             Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22   Page 306 of 518 PageID 4376




                  Case#:      1103616
11111111
Exhibit#:         County:     Tarrant
Deceased    Mechelle D. Gandy
Name:
Item        Human Remains ~/21/2011
Mar 22 11 05:37p          Wad~    Funeral Home                                   81???49237                      p.2
       Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                Page 307 of 518 PageID 4377

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                                                   ···~. * • ~-··
                                                             ········
                             OFFICE OF THE CHIEF MEDICAL EXAMINER
                          TARRANT COUNTY MEDICAL EXAMINER'S DISTRICT

                                         200 Feliks Gwozdz Place
                                       Fort Worth, Texas 76104-4919
                                 Phone: 817-920-5700     Fax: 817-920·5713

                                                                            Date:          ?- 2 2-2 P/f
          This authorizes the Tarrant County Medical Examiner's District, Fort Worth,

          Texas, to deliver the remains of:                fY/-c.cJ..e./L(                  &e:l~t
          tothe       W_ade ~('f'l: lT                              ..               funeral home.

          Please   compl~te   funeral home information below: · ·

                      414-0 (.A )J?. ·~ <>~e e.r ~~ City: ~A_,.;._r. .; . . \_,f'.._~-fv.__('.._J
          Add.ress:                                                                          __
                                                                                                 3
          Phone: }0    lJ- 21 t..f-'1231_    Fax:_________                               State/ZIP:--r6   7bOl3
          Authorization is also given to the above named· funeral home, or. its ·designated
          agents, to remove the said deceased to their place of business to care for, and
          prepare for disposition in accordance with professional standards.

          Funeral home is authorized to receive valuables:                   f   }Yes.       ( ) No

                                                                        ~{j~cW,\i~ ·itb ... .·
                                                                                     0                    Signature

                                                                        ~\A_·~\~-


             Note: Cash over $50.00 must be picked up in person by decedent's next-of:-kin.

          ME-23
          GPC-1953
          Rev.10/09
                       r
Case 4:22-cv-00385-O Document
                      .;      16-26 Filed 08/16/22      Page 308 of 518 PageID 4378




                                             Funeral HM WYJde  ~ ff
                                             Print name e~r-~ U-J/;:f:;::-
                                             Date 3!2.:31if  t:iJJ
                                                            Time . 1 : q:;-,e>:l'ft
                                             Clothing   ~ Pro~- (Y I              N)
                                             TCME sig . '"       'u::    ~
Case 4:22-cv-00385-O Document 16-26
                              Evidence Filed
                                       Chain 08/16/22
                                             of Custody                 Page 309 of 518 PageID 4379
                            TARRANT COUNTY MEDICAL EAMINER'S OFFICE
                                       200 Feliks Gwozdz Place
                                     Fort Worth, Texas 76104-4949


     Case Information
            Case Number        1103616
               Case Type       Jurisdiction
         Decedent's Name       Mechelle Danielle Gandy
                    Race       White
                     Age       26
                     Sex       F
            Date of Death      3/20/2011 10:38:00 PM
               Case Note

     Exhibit Number       I1           I Description I Human remains,No Clothing
     Note:    I
     Date And Time                            Relinq uisher              Receiver
     3/2112011 04:16:57                       AI Davis                   James Greenwell
     3/21/2011 04:16:57                       James Greenwell            Morgue Incoming Fridge
     3/23/2011 13:45                          Morgue Incoming Fridge     Ronnie Redic
     3/23/2011 13:45                          Ronnie Redic               CHARLES WHITE




                                                                                                  I of I
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                 Page 310 of 518 PageID 4380


                                  Office of Chief Medical Examiner
                             Tarrant County Medical Examiner's District
                                        Tarrant County, Texas
                                 200 Feliks Gwozdz Place, Fort Worth, Texas 76104-4919
                                           (817) 920-5700 FAX (817) 920-5713


                              AUTOPSY REPORT
 Name: Mechelle D. Gandy                                             CASE NO: 1103616
 Approximate Age: 26 Years                                           Sex: Female
 Height: 67 Inches                                                   Weight: 267.6 Pounds

 I hereby certify that on the 21st day of March, 2011, beginning at 1100 hours, I,
 Shiping Bao, M.D., pursuant to $tatute 49.25 of Texas Criminal Code,
 performed a complete autopsy on the body of Mechelle D. Gandy at the Tarrant
 County Medical Examiner's District Morgue in Fort Worth, Texas and upon
 investigation of the essential facts concerning the circumstances of the death and
 history of the case as known to me, I am of the opinion that the findings, cause
 arid manner of death are as follows:

 FINDINGS:
    I.    Pronounced dead at the scene after found unresponsive in a burning
          apartment
    II.   No medical history reported
    Ill.  Body covered by soot with no thermal burn identified
    IV.   No soot identified in larynx or trachea
    V.    Postmortem chemical burns on neck and shoulders
    VI.   Seven stab wounds identified on back, 4 of which penetrating posterior
          pleural cavities, with penetration/perforation of right middle lobe, right
          lower lobe, and left lower lobe of lungs
    VII. Four stab wounds identified on right chest and right anterior shoulder, 2
          of which penetrati!lg right anterior pleural cavity, with penetration of
          right ventricle of heart
    VIII. Three superficial incised wounds on left neck and forearm
    IX.   A 1.5" x 1.0" contusion lateral to left eye
    X.    Approximately 100 ml of blood in each pleural cavity
    XI.   Collapse of all lobes of lungs
    XII. Cholelithiasis
    XIII. Trace evidence and right 4th anterior rib collected
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22       Page 311 of 518 PageID 4381


                           Page 2 of7   - - - - -08Errorl Reference source not found.
                                                   Error! Reference source not found.

!CAUSE OF DEATH:        MULTIPLE STAB WOUNDS

!MANNER OF DEATH:       HOMICIDE




                                                    Shiping Bao, M.D.
                  Signature                         Deputy Medical Examiner
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                  .Y{
                                                                                       Page 312 of 518 PageID 4382   tlO ~1q
Novella Youn                                                                                                    l   (1 \          .'   l
                                                                                   i
                                                                                                                                           II
From:                         Darin Niederhaus [Darin.Niederhaus@arlin     / .go )                                                         fl
Sen~:                         Wednesday, April 06, 2011 2:08 PM        ~ 1         J
To:                           Novella Young                             Gt0        iJ
Subject:                      ME Findings AFD #11-00007642              .r   Lcl    J        /'("                          \ {J
                                                                  st~~    , <~A~ .  l)M"'~              ll

                                                                   Ef·\-q.pl, ~.-~
      Novella,
                                                                   /4- .':vw ruA ~f
                                                      homicide~ktre.
       I am one of the investigators on a double fatality              I am   wfntin~ tb\k~lfw' the final or preliminary report
      on Gandy, Michelle 26 y/o W/F and Olivas, Asher 1 y/o WjM.
                                                              {
      Also, we requested for Olivas and Gandy to be checked for ignitable liquids. Can you confirm for us if this happened?

      Thanks for your help!

      Darin L. Niederhaus & K9 "Briclunan"

      Deputy Fire Marshal
      Arson/EOD Unit
      Arlington Fire Departn1cnt
      (0) 817/459-5528
      (F) 817/459-5521

      "Terrorists need to be right once. We need to be right 100% of the time." -Former President George W. Bush




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-                                   Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                       Page 313 of 518 PageID 4383


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   Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                             Page 314 of 518 PageID 4384
Novella Young

From:                         Novella Young
Sent:                         Thursday, April 07, 2011 8:04 AM
To:                           'Darin Niederhaus'
Subject:                      FW: ME Findings AFD #11-00007642

Importance:                   High




      Trace was requested on these cases. Report on Gandy was sent. Report on
      Olivas is pending completion by Dr. Bao .



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      200 !}~ (jwoada. !lfaa
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      (817 )920-5700 x143 ooice


      -
      (817 )920-5713           {ac6imile


                                                       ---·----·--·-·--------------------·-··-·..----·-----
      From: Darin Niederhaus [mailto:Darin.Niederhaus@arlinqtontx.govl
      Sent: Wednesday, April 06, 2011 2:08PM
      To: Novella Young
      Subject: ME Findings AFD #11-00007642


      Novella,

       I am one of the investigators on a double fatality homicide/ fire. I am wanting to know the final or preliminary report
      on Gandy, Michelle 26 y/o W/F and Olivas, Asher 1 y/o W/M.

      Also, we requested for Olivas and Gandy to be checked for ignitable liquids. Can you confirm for us if this happened?

      Thanks for your help!

      Darin L. Niederhaus & K9 "Brickman"

      Deputy Fire Marshal
      Arson/EOD lJnil
      Arlington Fire Dcparl.Inent
      (0) 817I 459-5528
      (F) 817I 459-5521

      "Terrorists need to be right once. We need to be right 100% of the time." --Former President George W. Bush

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    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                   Page 315 of 518 PageID 4385
Novella Young

From:                   Byron Stewart [Byron.Stewart@arlingtontx.gov]
Sent:                   Wednesday, April 06, 201110:10 AM
To:                     Novella Young
Subject:                Autopsy Report, Investigator Report and CD of Photos



Novella, may I get the reports from ME# 1103617-Asher Olivas and ME# 1103616-Mechelle
Gandy.

Thanf:?s

Detective: Byron Stewart #1362
Homicide Unit
Arlington Police Department
620 W. Division Street Arlington Texas, 76004-1065
817 459-5691-0ffice
817 459-5323-Fax
817 287-8345-Cell
byron.stewart@arlingtontx.gov




                                                        1
     Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                   Page 316 of 518 PageID 4386
Novella Young
From:                     Novella Young
Sent:                     Thursday, April 07, 2011 8:09 AM
To:                       'Byron Stewart'
Subject:                  FW: Autopsy Report, Investigator Report and CD of Photos

Importance:               High



The report on Gandy was sent to you on 3/31. The report on Olivas is pending
completion by Dr. Shiping Baa .

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(817 )920-5700 x143 ooke
(817 )920-5713          jac6imik

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From: Byron Stewart rmailto:Byron.Stewart@arlinqtontx.govl
Sent: Wednesday, April 06, 201110:10 AM
To: Novella Young
Subject: Autopsy Report, Investigator Report and CD of Photos

Novella, n1ay I get the reports from ME# 1103617-Asher Olivas and ME# 1103616-Mechelle
Gandy.

Than~s


Detective: Byron Stewart #1362
Homicide Unit
Arlington Police Department
620 W. Division Street Arlington Texas, 76004-1065
817 459-5691-0ffice
817 459-5323-Fax
817 287-8345-Cell
byron.stewart@arlingtontx.gov




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    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22
Novella Young                                                                               -1fT; /DBG /b
                                                                                    Page 317 of 518 PageID 4387


From:                        Darin Niederhaus [Darin.Niederhaus@arlingtontx.gov]
Sent:                        Thursday, April 07, 2011 11:09 AM
To:                          Novella YounQ'
Subject:                      RE: *T11 0361~


Received.
Thank you,

Darin L. Nicderhaus & K9 .. Brick.Jnan"
Deputy Fire Marshal
Arson/EO D Unit
Arlington Fire Departtncnt
(0) 817I 459-5528
 (F) 81 7I 459-5521
.:Terrorists need to ~~_rjght ~!JC~We n~edJ~ be !i_ght_ 1OO~_gf t~~ time:_~::f_9rmer f!!eside_fJJ.__(}!Jorg_e W. Bush   ----·-··
 From: Novella Young [mailto:NYounq@TarrantCountv.com]
Sent: Thursday, April 07, 2011 8:01 AM
To: Darin Niederha~
Subject: *T11036.1JeJ
Importance: High

Toxicology pending. Please confirm receipt of this attachment.




                                                                 1
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                              Page 318 of 518 PageID 4388
Novella Young

From:                         Darin Niederhaus [Darin.Niederhaus@arlingtontx.gov]
Sent:                         Thursday, April 07, 2011 11:09 AM
To:                           Novella Young
Subject:                      RE: ME Findings AFD #11-00007642




      When you say Gandy report was sent who was it sent to?

      Darin L. Niederhaus & K9 "Briclunan11
      Deputy Fire Marshal
      ArsoniEOD lJnit
      Arlington Fire Deparllncnt
      (0) 817I 459-5528
      (F) 817I 459-5521
      "Terrorists need to be right once. We need to be right 100% of the time." -Former President George W. Bush


      From: Novella Young [mailto:NYounq@TarrantCountv.coml
      Sent: Thursday, April 07, 2011 8:04AM
      To: Darin Niederhaus
      Subject: FW: ME Findings AFD #11-00007642
      Importance: High


      Trace was requested on these cases. Report on Gandy was sent. Report on
      Olivas is pending completion by Dr. Baa .



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      (817 )920-5700 a:J43 oo.ice
      (817 )920-5713         ~imile,
      tf!JOU!I9@-.com


      From: Darin Niederhaus [mailto:Darin.Niederhaus@arlinqtontx.govl
      Sent: Wednesday, April 06, 2011 2:08 PM
      To: Novella Young
      Subject: ME Findings AFD #11-00007642


      Novella,

       I am one of the investigators on a double fatality homicide/ fire. I am wanting to know the final or preliminary report
      on Gandy, Michelle 26 y/o W/F and Olivas, Asher 1 y/o W/M.
                                                                1
   Case
Also,     4:22-cv-00385-O
      we requested              Document
                   for Olivas and           16-26
                                  Gandy to be checkedFiled  08/16/22
                                                      for ignitable liquids.Page 319confirm
                                                                             Can you of 518forPageID     4389
                                                                                              us if this happened?

Thanks for your help I

Darin L. Niederhaus & K9 "Briclunan"

Deputy Fire Marshal
Arson/EOD Unit
Arlington Fire Depar1.lnent
(()) 817I 4S9-5528
(F)   817I 4..59-5521

"Terrorists need to be right once. We need to be right 100% of the time." -Former President George W. Bush




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    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                  Page 320 of 518 PageID 4390
Novella Young

From:                   Byron Stewart [Byron.Stewart@arlingtontx.gov]
Sent:                   Thursday, April 07, 2011 9:48 AM
To:                     Novella Young
Subject:                Re: *T1103616

Thanks again Novella!



Sent from my iPhone

On Apr 7, 2011, at 9:30AM, "Novella Young" <NYoung@TarrantCounty.com> wrote:

> E-mailed previously on 3/31.       Toxicology pending.       Confirm receipt.
> <scan1029.pdf>




                                                        1
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                  Page 321 of 518 PageID 4391
Novella Young

From:                   Byron Stewart (Byron.Stewart@arlingtontx.gov]
Sent:                   Thursday, April 07, 2011 9:28AM
To:                     Novella Young
Subject:                RE: Autopsy Report, Investigator Report and CD of Photos

Novella, if Gandy report was mailed then I do not have it.             It could be caught up with our
mail people. Do you mind emailing it? Thanks

-----Original Message-----
From: Novella Young fmailto:NYoung@TarrantCounty.coml
Sent: Thursday, April 07, 2011 8:89AM       ·
To: Byron Stewart
Subject: FW: Autopsy Report, Investigator Report and CD of Photos
Importance: High



The report on Gandy was sent to you on 3/31.          The report on Olivas is pending completion by
Dr. Shiping Bao.



Novella Young

Custodian of Records

Tarrant County Medical Examiner

200 Feliks Gwozdz Place

Fort Worth, TX 76184-4919

(817)920-5700 x143     voice

(817)920-5713             facsimile

nyoung@tarrantcounty.com <mailto:nyoung@tarrantcounty.com>



From: Byron Stewart fmailto:Byron.Stewart@arlingtontx.govl
Sent: Wednesday, April 06, 2011 18:10 AM
To: Novella Young
Subject: Autopsy Report, Investigator Report and CD of Photos



Novella, may I get the reports from ME# 1103617-Asher Olivas and ME# 1183616-Mechelle Gandy.



Thanks


                                                       1
     Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22   Page 322 of 518 PageID 4392
Detective: Byron Stewart #1362

Homicide Unit

Arlington Police Department

620 W. Division Street   Arlington Texas) 76004-1065

817 459-5691-0ffice

817 459-5323-Fax

817 287-8345-Cell

byron.stewart@arlingtontx.gov




                                                2
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22               Page 323 of 518 PageID 4393
Novella Young

From:                  Darin Niederhaus [Darin.Niederhaus@arlingtontx.gov]
Sent:                  Friday, April 15, 2011 1:53 PM
To:                    Novella Young
Subject:               Re: Emailing: Approved_File_4_11 03616ToxicologylabDoc41 096492306.pdf


Received

D

Sent ffom my iPhone

On Apr 15,2011, at 1:47PM, "Novella Young" <NYoung@TarrantCounty.cotn> wrote:

       Confirm receipt.

       <Approved_File_4_11 03616ToxicologyLabDoc41 096492306.pdf.>




                                                    1
      Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22              Page 324 of 518 PageID 4394
Novella Young

From:                 Byron Stewart [Byron.Stewart@arlingtontx.gov)
Sent:                 Friday, April 15, 2011 10:15 AM
To:                   Novella Young
Subject:              RE: *T11 03616 (toxicology report)

Not sure if I confirmed or not but Thanks, I got it

-----Original Message-----
From: ·Novella Young [mailto:NYoung@TarrantCounty.com]
Sent: Wednesday, April 13, 2e11 3:22 PM
To: Byron Stewart
Subject: *Tlle3616 (toxicology report)
Importance: High

Please confirm receipt.




                                                     1
         Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                Page 325 of 518 PageID 4395
~~lla         Young
From:                                Ashley D. Fourt
Sent:                                Thursday, April 21, 2011 10:28 AM
To:                                  Novella Young
Subject:                             RE: *T1103616


Got it disregard my previous email.

Ashley D. Fourt
Assistant District Attorney-Civil Division
Tarrant County District Attorney's Office
401 W. Belknap
Fort Worth, Texas 76196

CONFIDENTIALITY NOTICE: This electronic transmission contains, or may contain, information of a sensitive and confidential nature. The information contained
in this transmission may contain information that is privileged as attorney work product and it may contain information that is within the attorney-client privilege.
THIS ELECTRONIC TRANSMISSION IS INTENDED SOLELY FOR VIEWING BY THE RECIPIENT($) NAMED ABOVE. If you receive this transmission, but you
are not a named recipient, please notify the sender by replying to the e-mail from your computer, then delete the e-mail from your computer, system and/or server.
If you are unsure whether you are an intended recipient of this e-mail, please contact the Tarrant County District Attorney's Office at (817) 884-1233.


From: Novella Young
Sent: Thursday, April 21, 2011 10:02 AM
To: Ashley D. Fourt
Subject: *T1103616
Importance: High

Please confirm receipt.




                                                                                  1
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                     Page 326 of 518 PageID 4396
~ella Young

From:                                 Ashley D. Fourt
Sent:                                 Thursday, April 21, 2011 10:27 AM
To:                                   Novella Young
Subject:                              RE: Media Requests


Got it

Ashley D. Fourt
Assistant District Attorney-Civil Division
Tarrant County District Attorney's Office
401 W. Belknap
Fort Worth, Texas 76196

CONFIDENTIALITY NOTICE: This electronic transmission contains, or may contain, information of a sensitive and confidential nature. The information contained
in this transmission may contain information that is privileged as attorney work product and it may contain information that is within the attorney-client privilege.
THIS ELECTRONIC TRANSMISSION IS INTENDED SOLELY FOR VIEWING BY THE RECIPIENT(S) NAMED ABOVE. If you receive this transmission, but you
are not a named recipient, please notify the sender by replying to the e-mail from your computer, then delete the e-mail from your computer, system and/or server.
If you are unsure whether you are an intended recipient of this e-mail, please contact the Tarrant County District Attorney's Office at (817) 884-1233.


From: Novella Young
Sent: Thursday, April 21, 201110:17 AM
To: Ashley D. Fourt
Subject: Media Requests
Importance:        High


Confirm receipt.




                                                                                  1
                               RECEIVED      11/21/2811 68:56           8179285719                      TCME
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                            Page 327 of 518 PageID 4397

•       NM~
                                                            NMS Labs                                        CONFIDENTIAL
                                      3701 Welsh Road, PO Box 433A, Willow Grove, PA 19090·0437
                                             Phone: (215) 657-4900 Fax: (215) 657·2972
        :_____ L.o\.~_S_j                              e.mail: nms@nmslabs.com
                                    Robert A Middleberg, PhD, DABFT. OABCC-TC, Laboratory Director



Toxicology Report                                                        Patient Na e GANDY, MECHELLE
                                                                         Patient I~          #1103616
Report Issued 11/21/2011 08:34                                           Chain·_...,.___, 11062971
Last Report Issued 11/17/201116:00                                       Age              26Y
 To:        10147
                                                                         Gender           Female
            Tarrant County Medical Examiner                              Workorder        11314807
            Office of the Medical Examiner                                Page 1 of2
            200 Feliks Gwozdz Place
            Fort Worth, TX 761 044919



 Positive Findings:

       Compound                                               ~                                      Matrix Source
       Carboxyhemoglobin                                      8.4                                    Aortic Blood


       See Detailed Findings section for additional information

 Testing Requested:
       Analysis Code                            Description
       1002B                                    Carbon Monoxide Exposure Biouptake Screen, Blood
       1380B                                    Cyanide, Blood

 Tests Not Performed:
    Part or all of the requested testing was unable to be performed. Refer to the Analysis Summary and Reporting Limits
    section for details.


 Specimens Received:
       ID     Tube/Container              Volume/       Collection             Matrix Source               Miscellaneous
                                          Mass          Date/Time                                          Information
       001 Red Vial                       4ml           03/211201111:00        Aortic Blood

       All sample volumes/weights are approximations.
       Specimens received on 11/11/2011.




                                                                                                                           v.8
                             RECEIVED       11/21/2011 08:50                8179205719                      TCME
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                               Page 328 of 518 PageID 4398
                                     CONFIDENTIAL                      Workorder           11314807
                                                                       Chain               11062971
                                                                       Patient 10          ME#1103616

                                                                       Page 2 of2


 Detailed Findings:
                                                                               Rpt.
  Analysis and Comments            Result                      Units           Limit        Specimen Source             Analysis By

  Carboxyhemoglobin                8.4                         %              2.0           001 -Aortic Blood           SP

  Other than the above findings, examination of the specimen(s) submitted did not reveal any positive findings of
  toxicological significance by procedures outlined in the accompanying Analysis Summary.

 Reference Comments:
  1.     Carboxyhemoglobin (COHb) -Aortic Blood:
           Hemoglobin is a protein found in red blood cells that is responsible for the oxygen carrying capacity of blood. In
           normal conditions. hemoglobin receives oxygen via blood circulation through the lungs and delivers the oxygen
           to tissues and organs throughout the body. In situations where the inspired air is high in carbon monoxide
           concentration, the hemoglobin then binds the carbon monoxide in place of oxygen. This leads to a functional
           deficiency in oxygen delivery to the organs and tissues of the body.

           Measurement of carbon monoxide hemoglobin saturation gives an indication of the carbon monoxide
           concentration in the inspired air and its possible sequelae. Normal endogenous carboxyhemoglobin levels are
           generally up to 4% in non-smokers and up to 8% in smokers (although it may be higher); toxic symptoms may
           be noted at levels >1 0%. Concentrations over 10% saturation have been reported to produce adverse effects,
           e.g., headache and nausea. Deaths from carbon monoxide, in the absence of resuscitative measures,
           generally have associated carboxyhemoglobin levels >40%. However, individuals with a compromised
           cardiovascular system are at a potentially greater risk of toxic effects at much lower carbon monoxide
           hemoglobin saturation values.

  Chain of custody documentation has been maintained for the analyses performed by NMS Labs.

  Unless alternate arrangements are made by you, the remainder of the submitted specimens will be discarded six (6)
  weeks from the date of this report; and generated data will be discarded five (5) years from the date the analyses were
  performed.

                                                                                 Workorder 11314807 was electronically
                                                                                 signed on 111171201115:32 by:
                                                                                    ./1.   ,........--) .
                                                                                                      ~
                                                                                                      ,_
                                                                                    Laura M. Labay, Ph.D., DABFT, DABCC-TC
                                                                                    Forensic Toxicologist

 Analysis Summary and Reporting Limits:

  Acode 1002B- Carbon Monoxide Exposure Biouptake Screen, Blood- Aortic Blood

       -Analysis by Spectrophotometry (SP) for:
         Comoound                                 Rpt. Limit                 Compound                              Rpt. Limit
         Carboxyhemoglobin                     2.0%

  Acode 1380B - Cyanide, Blood - Aortic Blood

       -Analysis by Spectrophotometry (SP) for:
         Compound                                 Rpt. Limit                 Comoound                              Rpt. Limit
         Cyanide                            N/A
         Testing Not Performed: Test was canceled due to [Sample Matrix Problem).


                                                                                                                                      v.8
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Checklist for case#~~           ·l~~/ ~-·
                                       0 /,fo·            Co urt Order to Hold Records     ----
MI Documents:                                                                              OTH ER:
Investi gator Reports                                          Drivers License
In vestigator Narrative
Cause of Death Report                                          Photo Records:
                                                              Transmi ttal Request for
                                                               D'up licates
    Ml T ype of Death Report:
           Motor Veh icle                                      Photo Scene
           Pedestrian                                          Photo Morgue
           Hanging
           Suicide
    Report of Identification
    Fingerprint Analysis                                        Police Report

    ME DOCUMENTS:                                               Medica l Records
    Neuropathology Report
    Autopsy Transcription
    Diagrams/Notes                                              Outside Lab Records
    Death Certificate
    Contagious Disease Lt                                        X-Ray/Dental Records
    Amended Death Certificate
    Waiver of Autopsy                                            Affidavits
    Toxicology Report
    Toxicology Request                                           Fam ily Request Letters



    All Crime Lab Reports:
    Fireanns Report
    GSR
    Trace
    Anthropo logy
    Forensic Labs
    Chain of Custody
    Property Release
    Medication Log
    Family Release (white)
    Funeral Home Release (pink) _ _ __
    Notification of Property
    Cremation Authorization
    Autopsy Report Release to:                                                     Date
j          -      {~
                                                      NMS Labs                                  CONFIDENTIAL
               Case 4:22-cv-00385-O   Document       16-26     Filed   08/16/22       Page
                                3701 Welsh Road. PO Box 433A Willow Grove. PA 19090-0437   330 of 518 PageID 4400
                                              Phone: (2 15) 657-4900 Fax: (215) 657-2972
                                                        e-mail: nms@nmslabs.com
                                    Robert A. Middleberg. PhD. DABFT. DABCC-TC. Laboratory Director



Toxicology Report                                                         Patient Name         GANDY, MECH ELLE
                                                                          Patient ID           ME#1    16    0
Report Issued         11/17/2011 16:00
                                                                          Chain
                                                                          Age
                                                                                               ~ 1062971     v .bt~t--
                                                                          Gender               Female
  To :        10147
              Tarrant county Medical Examiner                             Workorder            11 31480 7
              Office of the Medical Examiner                              Page 1 of2
              200 Feliks Gwozdz Place
              Fort Worth, TX 761044919



 Positive Findings :

         Compound                                             Result                 Units            Matrix S ou rce
         Carboxyhemoglobin                                    8.4                    %                Aortic Blood


         See Detailed Findings section for additional information

 Testing Requested :
         Analysis Code                            Description
         10028                                    Carbon Monoxide Exposure Biouptake Screen. Blood
         13808                                    Cyanide. Blood

 Tests Not Performed :
   Part or all of the requested testing was unable to be performed. Refer to th€Analysis Summary and Reporting Limits
   section for details.


 Specimens Received :
         ID     Tube/Container             Volume/       Collection             Matrix Source               Misce llaneous
                                           Mass          Date/Time                                          Informatio n
         001 Red Vial                      4 ml          03/21/2011 11 :00      Aortic Blood

         All sample volumes/weights are approximations.
         Specimens received on 11/11/2011.




                                                                                                                             v.8
                                    CONFIDENTIAL                 Workorder    11314807



~~
        Nlv1S
          Case 4:22-cv-00385-O Document
             LA BS
                                                                 Chain
                                                                    Patient ID
                                                                              11062971
                                                             16-26 Filed 08/16/22   Page
                                                                                         ME#1103616
                                                                                                       331 of 518 PageID 4401

                                                                    Page2of2


Detai led Findings:
                                                                            Rpt.
 Analysis and Comments             Result                   Units           Limit         Specimen Source          An alysis By

 Carboxyhemoglobin                8.4                       %               2.0           001 - Aortic Blood        SP

 Oth er th an th e above findings, examination of the specimen(s) submitted did not rev eal any positive find ings of
 to xicologica l significance by procedures outlined in the accompanying Analysis Summary.

Reference Comments:
  1.     Carboxyhemoglobin (COHb) - Aortic Blood:
           Hemoglobin is a protein found in red blood cells that is responsible for the oxygen carrying capacity of blood. In
           normal conditions. hemoglobin receives oxygen via blood circulation th rough the lungs and delivers the oxygen
           to tissues and organs throughout the body. In situations where the inspired air is high in carbon monoxide
           concen tration. the hemoglobin then binds the carbon monoxide in place of oxygen. This leads to a functional
           deficiency in oxygen delivery to the organs and tissues of the body.

           Measurement of carbon monoxide hemoglobin saturation gives an indication of the carbon monoxide
           concentration in the inspired air and its possible sequelae. Normal endogenous ca rboxyhemoglobin levels are
           generally up to 4% in non-smokers and up to 8% in smokers (although it may be higher); toxic symptoms may
           be noted at levels> 10%. Concentrations over 10% saturation have been reported to produce adverse effects.
           e.g., headache and nausea. Deaths from carbon monoxide, in the absence of resuscitative measures,
           generally have associated carboxyhemoglobin levels >40%. However. individuals with a compromised
           cardiovascular system are at a pote ntially greater risk of toxic effects at much lower carbon monoxide
           hemoglobin sa turation values.

  Chain of custody documentation has been maintained for the analyses performed by NMS Labs.

 Unless alternate arrangements are made by you. th e remainder of the submitted specimens will be discarded six (6)
 weeks from the date of this report; and generated data will be discarded five (5) years from t he date the analyses were
 performed.

                                                                                 Workorder 11314807 was electronically
                                                                                 signed on 11/17/2011 15:32 by :

                                                                                 ./"f.   -- ·~.
                                                                                 Laura M. Labay, PII.D., DABFT, DABCC-TC
                                                                                 Forensic Toxicologist


Analysis Summary and Reporting Limits :

  Acode 1002B- Carbon Monoxide Exposure Biouptake Screen. Blood- Aortic Blood

       -Analysis by Spectrophotometry (SP) for

         Comoound                              Rot. Limit                 Compound                             Rpt. Limit
         Carboxyhemoglobin                     2.0%

  Acode 1380B- Cyanide, Blood - Aortic Blood

       -Analysis by Spectrophotometry (SP) for

         Comoound                              Rpt. Limit                 Compound                             Rpt. Limit
         C~n~                                  ~
         Testing Not Performed:Testwas canceled due to [Sample Matrix Problem].


                                                                                                                                  v.8
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                Page 332 of 518 PageID 4402
Novella Young
From:                 Darin Niederhaus [Darin.Niederhaus@arlingtontx.gov]
Sent:                 Tuesday, April 19, 2011 10:04 AM
To:                   Novella Young
Subject:              Re: *T11 03617


Received

D

Sent from my iPhone

On Apr 19, 2011, at 9:44AM, "Novella Young" <NYoung@TarrantCounty.com> wrote:

>
>
> Novella Young
> Custodian of Records
> Tarrant County Medical Examiner
> 200 Feliks Gwozdz Place
> Fort Worth, TX 76104-4919
> (817)920-5700 x143 voice
> (817)920-5713           facsimile
> nyoung@tarrantcounty.com<mailto:nyoung@tarrantcounty.com>
>
> From: Novella Young
> Sent: Tuesday, April 19, 2011 9:35 AM
> To: 'Byron Stewart'
> Subject: *T1103617
> Importance: High
>
> Please confirm receipt of this attachment.
> <scan1112.pdf>




                                                     1
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22               Page 333 of 518 PageID 4403
Novella Young

From:                Byron Stewart [Byron.Stewart@arlingtontx.gov]
Sent:                Tuesday, April 19, 2011 10:36 AM
To:                  Novella Young
Subject:             RE: *T1103617


Thanks Novella, I got it

-----Original Message-----
From: Novella Young [mailto:NYoung@TarrantCounty.coml
Sent: Tuesday, April 19, 2011 9:35 AM
To: Byron Stewart
Subject: *T1103617
Importance: High

Please confirm receipt of this attachment.




                                                    1
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                     Page 334 of 518 PageID 4404
Novella Young

From:                                 Ashley D. Fourt
Sent:                                 Thursday, April21, 2011 10:28 AM
To:                                   Novella Young
Subject:                              RE: *T1103617


Got it what about the mom?

Ashley D. Fourt
Assistant District Attorney-Civil Division
Tarrant County District Attorney's Office
401 W. Belknap
Fort Worth, Texas 76196

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If you are unsure whether you are an intended recipient of this e-mail, please contact the Tarrant County District Attorney's Office at (817) 884-1233.



From: Novella Young
Sent: Thursday, April 21, 201110:15 AM
To: Ashley D. Fourt
Subject: *T1103617
Importance: High

Please confirm receipt of this attachment.




                                                                                  1
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22   Page 335 of 518 PageID 4405
Novella Young
From:              Novella Young
Sent:              Monday, August 29, 2011 8:20 AM
To:                'Long,Tami R (DFPS)'
Subject:           *T1103617
Attachments:       scan2031 .pdf

Importance:        High


Confirm receipt.




                                                1
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                                  Office of Chief Medical Examiner
                             Tarrant County Medical Examiner's District
                                       Tarra nt County, Texas
                                 200 Feliks Gwozdz Place, Fort Worth, Texas 76104-4919
                                            817) 920-5700 FAX 817) 920-5713


                             AUTOPSY REPORT
  Name: Asher Rion Olivas                                            CASE NO: 1103617
  Approximate Age: 1 Year                                            Sex: Male
  Height: 27 Inches                                                  Weight: 19.6 Pounds

  I hereby certify that on the 22nd day of March, 2011, beginning at 0900 hours, I,
  Shiping Bao, M.D., pursuant to Statute 49.25 of Texas Criminal Code,
  performed a complete autopsy on the body of Asher Rion Olivas at the Tarrant
  County Medical Examiner's District Morgue in Fort Worth, Texas and upon
  investigation of the essential facts concerning the circumstances of the death and
  history of the case as known to me, I am of the opinion that the findings, cause
  and manner of death are as follows:

  FINDINGS:
     I.    Found dead in a burning apartment
     II.   No medical history reported
     Ill.  A severely burned child's body covered by soot
     IV.   Right skull burned away with exposure of brain tissues
     V.    Right forearm and lower leg burned away
     VI.   Right lower chest and right abdominal walls burned away with exposure
           of organs
     VII. No blunt force or sharp force trauma could be identified on external
           examination
     VIII. No blunt force or sharp force injuries identified on internal organs
     IX.   No soot identified in larynx or trachea
     X.    NeQative on postmortem toxicoloQy study includinQ carbon monoxide
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  Page 2 of 5                                              _ _ _ _ 1103617
                                                                Asher Rion Olivas

  !CAUSE OF DEATH:       THERMAL BURNS

  !MANNER OF DEATH:      HOMICIDE

  COMMENT: Due to severe burns to head and face, suffocation or head trauma
  could not be ruled out.




                                          Shiping Bao, M.D.
                                          Deputy Medical Examiner


                                          Nizam Peerwani, M.D.
            1      Signature              Chief Medical Examiner


                                          Marc Krouse, M.D.
                                          Chief Deputy Medical Examiner


                                          Gary L. Sisler, D.O.
                   Signature              Deputy Medical Examiner


                                          Lloyd White, M.D., Ph.D.
                   Signature              Deputy Medical Examiner
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  Page 3 of 5                                                      _ _ _ _ 1103617
                                                                         Asher Rion Olivas



  A complete autopsy is carried out at the Tarrant County Medical Examiner's
  Morgue.


                      GROSS ANATOMIC DESCRIPTION


  I.    CLOTHING AND PERSONAL EFFECTS: The body is presented to the
  Morgue wrapped in a white sheet, secured in a white body bag and clad in:
     1. A burned blue shirt
     2. A burned diaper

  II.    THERAPEUTIC INTERVENTION: None

  Ill.  EXTERNAL BODY DESCRIPTION: The body is that of a severely burned
  child covered by soot. The right skull is burned away with exposure of brain
  tissues. The right forearm and lower leg are burned away. The right lower chest
  and right abdominal walls are burned away with exposure of organs. No blunt
  force or sharp force trauma could be identified on external examination. External
  genitalia could not be identified.

  IV.    INTERNAL EXAMINATION

  No blunt force or sharp force injuries are identified on internal organs.

  1.   INTEGUMENT: A Y-shaped thoracoabdominal incision is made and the
  organs are examined in-situ and eviscerated in the usual fashion.

  2.     SEROUS CAVITIES: No rib, sternal, or clavicular fractures are identified.

  3.      CARDIOVASCULAR SYSTEM: The heart weighs 59 grams and there is
  no chamber hypertrophy or dilatation. The cardiac valves appear unremarkable.
  The coronary ostia are in the normal anatomical location leading into widely
  patent coronary arteries. Right dominant circulation is present. The endocardial
  surface is smooth without thrombi or inflammation. Sectioning of the myocardium
  presents no gross evidence of ischemic changes either of recent or remote
  origin.   The aortic arch along with the great vessels appears grossly
  unremarkable.
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   Page 4 of 5                                                   _ _ _ _ _1103617
                                                                       Asher Rion Olivas

  4.     PULMONARY SYSTEM: No soot is identified in larynx or trachea. The
  lungs appear hyperinflated and together weigh 284 grams. Both the lungs
  appear severely edematous. There are no gross pneumonic lesions or abnormal
  masses identified. The tracheobronchial tree and pulmonary arterial system are
  intact and grossly unremarkable.

  5.    GASTROINTESTINAL SYSTEM:             The esophagus is intact with normal
  gastroesophageal junctions and without erosions or varices. The stomach is also
  normal without gastritis or ulcers, and contains food particles. Loops of small
  and large bowel appear grossly unremarkable. The appendix is unremarkable.

  The liver weighs 407 grams presenting a brown surface. On sectioning the
  hepatic parenchyma is yellow-brown, homogeneous and congested. The
  gallbladder is unremarkable containing no greenish bile. There is no cholecystitis
  or lithiasis. The biliary tree is patent. The pancreas weighs 12 grams and
  presents a lobulated yellow cut surface without acute or chronic pancreatitis.

  6.     GENITOURINARY SYSTEM: The left kidney weighs 24 grams, and the
  right 31 grams. On sectioning the cortex presents a normal thickness above the
  medulla. The renal columns of Bertin extend between the well-demarcated
  pyramids and appear unremarkable. The medulla presents normal renal
  pyramids with unremarkable papillae. The pelvis is of normal size and lined by
  gray glistening mucosa. There are no calculi. Renal arteries and veins are
  normal. The ureters are of normal caliber lying in their course within the
  retroperitoneum and draining into an unremarkable urinary bladder containing
  approximately 2.0 mL of urine.

  External genitalia could not be identified. The prostate is unremarkable.

  7.    HEMATOPOIETIC SYSTEM: The spleen weighs 74 grams, presenting a
  gray-pink intact capsule and a dark red parenchyma.   There is no
  lymphadenopathy. The thymus gland is unremarkable.

  8.    ENDOCRINE SYSTEM: Thyroid gland is of normal size and shape,
  presenting two well-defined lobes with connecting isthmus and a beefy brown
  cut-surface. There are no goitrous changes or adenomas present. The adrenal
  glands are of normal size and shape and sectioning presents no gross
  pathological lesions.

  9.   CENTRAL NERVOUS SYSTEM:                   A scalp incision, craniotomy and
  evacuation of the brain are carried out in the usual fashion.
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   Page 5 of 5                                                   _ _ _ _ 1103617
                                                                    Asher Rion Olivas


  The brain weighs 761 grams and is fragmented on examination. No blunt force or
  sharp force injuries could be identified. Spinal cord is not examined.




                 SPECIMENS AND EVIDENCE COLLECTED


  1.     20 mL of aortic blood and 2 mL of urine for further examination
  2.     Representative tissue sections in formalin for possible further examination
  3.     Blood cards
  4.     Representative photographs
  5.     2 X-ray films


  EDC: 05/21/11
  Completed: 04/13/11
  SB/akc
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                     Page 341 of 518 PageID 4411




                                         Toxicology Test Results

      Office of Chief Medical Examiner               Nizam Peerwani, M.D., DABFP
      Toxicology Laboratory Service                  Chief Medical Examiner
      200 Feliks Gwozdz Place                        Susan R. Howe, PH.D., DABFT
      Fort Worth, Texas 76104                        Acting Chief Toxicologist
      Name: Asher Rion Olivas                        Priority: 0
      Case Number: 1103617                           · Service Request Number: 004
      Toxicology Work Number: 1100614


     Specimen           Drug                           Result         Drug Amount    Perfonned By
     AORTA BLOOD        ETHANOL AxSYM                  NEGATIVE                      B. LANDRY
     URINE              CANNABINOIDS AxSYM             NEGATIVE                      B. LANDRY
     URINE              COCAINE AxSYM                  NEGATIVE                      B. LANDRY
     URINE              OPIATES AxSYM                  NEGATIVE                      B. LANDRY
     URINE              AMPHETAMINES AxSYM             NEGATIVE                      B. LANDRY
     URINE              BENZODIAZEPINES AxSYM          NEGATIVE                      B. LANDRY
     AORTA BLOOD        CARBON MONOXIDE                NEGATIVE                      B. LANDRY
     AORTA BLOOD        ACID                           NEGATIVE                      S. BOTCH
     AORTA BLOOD        BASE                           NEGATIVE                      S. BOTCH




     Report Prepared By:_ _ _ _ _ __




     Approved B y : - - - - - - - - -

     Approved Date:
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                Page 342 of 518 PageID 4412
         TARRANT COUNTY MEDICAL EXAMINER'S DISTRICT
         SERVING TARRANT, PARKER, & DENTON COUNTIES
                                        Investigator's Report
     CASE #: 11 03617         Tarrant       TYPE: Jurisdiction       IDENTITY: Identified

     NIZAM PEERW ANI, M.D.                                              MICHAEL FLOYD
     CHIEF MEDICAL EXAMINER                          CHIEF FORENSIC DEATH INVESTIGATOR
     DECEASED: Asher Rion Olivas
     ADDRESS:
     AGE: 1                        BIRTH DATE: 2/25/2010         MARITAL STATUS: Unknown
     PHONE:                        RACE OR COLOR: Unknown        SEX:M
     HEIGHT: 2' 2' 3"              WEIGHT: 19.6
     SSN:                          MANNER OF DRESS: Unknown
     OCCUPATION:
     PLACE OF EMPLOYEMENT:

     DATE OF DEATH: 3/21/2011                 TIME OF DEATH: 03:00
     PLACE OF DEATH DESCRIPTION: Bedroom
     ADDRESS OF DEATH: 2216 Presidents Comer #601, Arlington, Texas 76011
     HOSPITALIZED: No
     ADMIT DATE:               ADMIT TIME:
     ENVIRONMENT CONDITION: Gutted by fire
     CHARACTERISTIC OF PREMISES: Apartment
     DATE/TIME M.E. NOTIFIED: 3/21/2011 03:01
     ARRIVED: 3/21/2011
     REPORTING PERSON: Sgt. Peron
     REPORTING AGENCY: Arlington PD
     ADDRESS: 610 W. Division St., Arlington, Texas 76011
     PHONE: {817)459-5600
     PRONOUNCED DEAD BY: Stephen Lea #153
     PRONOUNCING AGENCY: Arlington Fire Department
     LAST TREATED BY:
     DATE/TIME OF OCCURENCE: 3/20/2011 22:11
     INJURY AT WORK: NO
     PLACE OF OCCURENCE: Apartment
     LOCATION: 2216 Presidents Comer #601, Arlington, Texas 76011
     TRAUMA RELATED: Yes
     IDENTIFIED BY: Roger Metcalf
     IDENTIFICATION TYPE: DNA
     DATE/TIME OF IDENTIFICATION: 3/29/2011 -Time: 09:45
     IDENTIFICATION STATUS: Positive ID
     COMMENTS: Decedent identified by UNT HSC DNA Lab via analysis and comparison of DNA
     samples.
     ADDRESS:
     PHONE:

     NEXT OF KIN NOTIFICATION DATE/TIME: 3/29/2011 09:45
     NOTIFIED BY: Metcalf
     NOTIFYING AGENCY: TCMED
     NEXT OF KIN NAME: Lester Hicks
     RELATIONSHIP: Grandfather
     COMMENTS:
     ADDRESS:
     PHONE: (817)375-8701
     BODY TO: TCMEO                           CONVEYANCE: Lawson
                                                                                  8/29/2011
                                                                                  Page 1
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22           Page 343 of 518 PageID 4413
         TARRANT COUNTY MEDICAL EXAMINER'S DISTRICT
         SERVING TARRANT, PARKER, & DENTON COUNTIES
                                    Investigator's Report
     CASE #: 11 03617     Tarrant       TYPE: Jurisdiction     IDENTITY: Identified

     NIZAM PEERWANI, M.D.                                           MICHAEL FLOYD
     CHIEF MEDICAL EXAMINER                      CHIEF FORENSIC DEATH INVESTIGATOR
     FUNERAL HOME:

     NAME OF RELEASING AUTHORITY:

     RELATIONSHIP:

     DISPOSITION OF PROPERTY:


     MEDICAL INVESTIGATOR:
     James Greenwell




                                                                             8/29/2011
                                                                             Page 2
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                        TARRANT COUNTY MEDICAL EXAMINER'S DISTRICT
                        SERVING TARRANT, PARKER, & DENTON COUNTIES

                                         INVESTIGATOR'S REPORT


 NIZAMPEERWANI, M.D.                                     MICHAEL FLOYD
 CHIEF MEDICAL EXAMINER                                  CHIEF FORENSIC DEATH INVESTIGATOR
 Case Number: 1103617                                    Case Type: Jurisdiction
 DECEDENT'S NAME: Asher Rion Olivas                                              AGE: 1
 ADDRESS:
 BIRTH DATE: 2/25/2010      MARITAL STATUS: Unknown                              PHONE:

CASE NO. 1103617 Tarrant

The decedent is an infant who was severely burned in an apartment fire while in a crib. Arlington Police are
investigating this case as a homicide with companion case # 1103616.
Arlington Police Detective Byron Stewart has requested trace evidence be completed on this case.

Photographs were taken of the scene.

Total# of photos: 42

Tentative Identification:

Asher Olivas, HIM DOB 02/25/2010




DESCRIPTION OF BODY:

The body is viewed at scene in the charred remains of what was once a crib. The body is of an infant, and is
burned beyond recognition.

MEDICAL HISTORY:

There is no known medical history for the decedent.

DETAILS OF INCIDENT:

This investigator responded to the scene, arriving at 0217 hours. I made contact with Detective Byron Stewart
of the Arlington Police Department who stated on Sunday, March 20th, 2011 at 2211 hours, Arlington Fire
Department responded to this location in reference to an apartment fire. Upon arrival, fire personnel observed
this apartment in flames, forced entry through the front door, and found the Mechelle Gandy on the floor just
inside the door. Fire personnel pulled Mechelle from the apartment and onto the parking lot where paramedics
attempted life savings measures without success. Paramedics observed what they believed to be multiple stab-
type wounds on Mechelle's chest and back and she was pronounced at the scene, (companion case #1103616).
Detective Stewart requested Mechelle's body be preserved for trace evidence. Detective Stewart stated they are
currently looking for the decedent, a white Hispanic named Asher Olivas, and the child's father, Thomas
Olivas, HIM DOB 11/28/1982.
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                         Case No. 1103617 Tarrant County Medical Examiner's Office

While at the scene, ~lington Arson Investigator Stephen Lea located the charred remains of the decedent in the
back, southwest bedroom of the apartment. Lea stated the apartment fire was started in this room and the door
to the bedroom was closed. The decedent was in a charred crib when found and the body was badly burned.
Detective Stewart requested the body of the decedent also be preserved for trace evidence and the possibility of
an accelerant used on the body.

I observed several blood splatters on the wall as I entered the apartment, on the front entry way floor and
kitchen floor. The decedent was wrapped inside a white sheet and placed inside a body bag.

UNIDENTIFIED BODY:

The following information may lead to the positive identification of the decedent.
Potential Name: Asher Olivas HIM DOB 02/25/2010
Address: 2216 Presidents Comer #601, Arlington, TX 76011

ORGAN TISSUE DONOR:

There is no signed consent form to allow harvesting of organs or tissue.

FOLLOW UP INVESTIGATIONS REQUIRED

Identify the decedent and notify the next of kin.

COMMENTS:

There was no property removed from the decedent at the morgue.



 James K Greenwell




                                                                                                    Page 2 of3
   Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22              Page 346 of 518 PageID 4416
                      Case No. 1103617 Tarrant County Medical Examiner's Office

Addendum added 3/22/2011 by.Roger Metcalf
RM DDS collected an additional FTA "blood card" from this decedent for DNA analysis. Family reference
DNA sample was obtained from the adult female decedent Mechelle Gandy in companion case #1103616 by
RMDDS.

Addendum added 3/23/2011 by Roger Metcalf
Decedent's FTA blood card was hand-delivered to UNT HSC DNA Lab by RM DDS for analysis and
comparison to family reference sample from companion case #1103616.

Addendum added 3/29/2011 by Roger Metcalf
DNA report received via fax from UNT HSC DNA Lab (UNT #11-0547, 11-0548). Decedent identified via
DNA analysis and comparison as Asher Rion Olivas, 02/25/2010 (spelling of name and dob confirmed by
step-grandfather Lester Hicks). N-o-k Lester Hicks, 817-375-8701, notified of positive ID.




                                                                                          Page 3 of3
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                          Page 347 of 518 PageID 4417
Novella Young
From:                       TAMI.LONG@dfps.state.tx.us
Sent:                       Monday, August 29, 2011 1:55 PM
To:                         Novella Young
Subject:                    RE: *T1103617


Received thank you!


From: Novella Young [mailto:NYoung@TarrantCounty.coml
Sent: Monday, August 29, 2011 8:20AM
To: Long,Tami R (DFPS)
Subject: *T1103617
~mportance: High


Confirm receipt.

CONFIDENTIALITY NOTICE: This communication is intended only for the use of the individual or entity to which it is
addressed and may contain information that is privileged, confidential, and exempt from disclosure under applicable law. If
you have received this email in error please notify the sender by email, delete and destroy this message and its
attachments. If you are not the intended recipient, you are notified that any use, dissemination, distribution, or copying of
the communication is strictly prohibited.




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                                        Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                                                               Page 348 of 518 PageID 4418




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I                   ME-82   1/ 11                                                                          TARRANT COUNlY MEDICAL EXAMINER
I                                                                                                            PHOTO SERVICES REQUEST FORM                                                        CASE            #it T II(l~, ll--
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Nove:la Young

From:                         Novella Young
Sent:                         Thursday, October 11, 2012 2:49 PM
To:                           Carlie A. Jones
Subject:                      FW: M.E.#*T1103617; D.A.# 1298688 (1 of 2)
Jl.ttachments:                scan1983.pdf

Importance:                   High




Please confirm receipt of this attachment. Photos on CD is ready
for pick up.
·~;;om: Novella Young
~~nt: Thursday, October 11, 2012 2:43 PM
':r;~:   Novella Young
~~bject:      M.E.#*T1103617; D.A.# 1298688 (1 of 2)
Importance: High
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Novella Young

From:                     Novella Young
Sent:                     Thursday October 11 2012 2:50 PM
                                   I          I


To:                       Carlie A. Jones
Subject:                  FW: M.E.#*T1103617; D.A.# 1298688 (2 of2)
Attachments:              scan1984.pdf

Importance:               High



Please confirm receipt of this attachment.
From: Novella Young
~ent: Thursday, October 11, 2012 2:48 PM
T:o: Novella Young
Subject:
 .....     M.E.#*T1103617; D.A.# 1298688 (2 of 2)
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      Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22              Page 351 of 518 PageID 4421
  Novella Young
 From:                    Carlie A. Jones
 Sent:                    Thursday, October 11,2012 2:57PM
 To:                      Novella Young
 Subject:                 RE: M.E.#*T1103617; D.A.# 1298688 (1 of2)


 Received

 From: Novella Young
Sent: Thursday, October 11, 2012 2:49PM
To: Carlie A. Jones
f.'4Jbject: FW: M.E.#*T1103617; D.A.# 1298688 (1 of 2)
Tmportance: High



Please confirm receipt of this attachment. Photos on CD is ready
for pick up.
!=rom: Novella Young
$ent: 1hursday, October 11, 2012 2:43PM
-lfh: Novella Young
~~'ibject:·M.E.#*T1103617; D.A.# 1298688 (1 of 2)
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     Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22               Page 352 of 518 PageID 4422
Novella Young
From:                    Carlie A. Jones
Sent:                    Thursday, October 11, 2012 2:57PM
To:                      Novella Young
Subject:                 RE: M.E.#*T1103617; D.A.# 1298688 (2 of 2)


Received


From: Novella Young
Sent: Thursday, October 11, 2012 2:50 PM
To: carlie A. Jones
Subject: FW: M.E.#*T1103617; D.A.# 1298688 (2 of 2)
Importance: High


Please confirm receipt of this attachment.
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From: Novella Young
~nt: Thursday, October 11, 2012 2:48 PM
To: Novella Young
Subject: M.E.#*T1103617; D.A.# 1298688 (2 of 2)
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Checklist for case¥}\\      D% ['{-                   Court Order to Hold Records
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MI Documents:
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Investigator Reports
Investigator Narrative
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Cause of Death Report                                      Photo Records:
                                                          Transmittal Request for
                                                          Duplicates
MI Type of Death Report:
       Motor Vehicle                                       Photo Scene
       Pedestrian                                          Photo Morgue
       Hanging
       Suicide
Report of Identification
Fingerprint Analysis                                       Police Report

ME DOCUMENTS:                                               Medical Records
Neuropathology Report                                      UNI H-5~
Autopsy Transcription
Diagrams/Notes                                              Outside Lab Records
Death Certificate
Contagious Disease Lt                                       X-Ray/Dental Records
Amended Death Certificate
Waiver of Autopsy                                           Affidavits
Toxicology Report
Toxicology Request                                          Family Request Letters

                                                            Correspondence/Requests:
                                                            Attorney's
All Crime Lab Reports:                                      Subpoena for Records
Firearms Report
GSR                                                        Non-Jurisdiction:
Trace                                                      Autopsy Authorization
Anthropology                                               Biographical Data Sheet
Forensic Labs                                              JP Body Release
Chain of Custody                                           Judge Body Release
Property Release                                           Police Body Release
Medication Log                 /                           Autopsy Report Release
Family Release (white)      _il_ __                        JP Authorization
Funeral Home Release (pink) _ _ __
Notification of Property
Cremation Authorization
Au opsy Re ort Release to:                                                    Date

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•                                                   OLIVAS.
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22   PageAS HER
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•                                           (AUTO P SY } TARRANT - 110361 /
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                   Page 441 of 518 PageID 4511
         TARRANT COUNTY MEDICAL EXAMINER'S DISTRICT
         SERVING TARRANT, PARKER, & DENTON COUNTIES
                                    · Investigator's Report
     CASE #: II 03 617         Tarrant     TYPE: Jurisdiction          IDENTITY: Unidentified

     NIZAM PEER WANI, M.D.                                         MICHAEL FLOYD
     CHIEF MEDICAL EXAMINER                   CHIEF FORENSIC DEATH INVESTIGATOR
     DECEASED: Unidentified Remains (3617)
     ADDRESS:
     AGE:                        BIRTH DATE:              MARITAL STATUS: Unknown
     PHONE:                      RACE OR COLOR: Unknown SEX:U
     HEIGHT:                     WEIGHT:
     SSN:                        MANNER OF DRESS: Unknown
     OCCUPATION:
     PLACE OF EMPLOYEMENT:

     DATE OF DEATH: 3/21/2011                 TIME OF DEATH: 03:00
     PLACE OF DEATH DESCRIPTION: Bedroom
     ADDRESS OF DEATH: 2216 Presidents Corner #60 I, Arlington, Texas 760 I 1
     HOSPITALJZED: No
     ADMIT DATE:               ADMIT TIME:
     ENVIRONMENT CONDITION: Gutted by fire
     CHARACTERISTIC OF PREMISES: Apartment
     DATE/TIME M.E. NOTIFIED: 3/21/2011 03:01
     ARRIVED: 3/21/20 11
     REPORTING PERSON: Sgt. Peron
     REPORTING AGENCY: Arlington PD
     ADDRESS: 610 W. Division St., Arlington, Texas 7601 1
     PHONE: (817)459-5600
     PRONOUNCED DEAD BY: Stephen Lea #153
     PRONOUNCING AGENCY: Arlington Fire Department
     LAST TREATED BY:
     DATE/TIME OF OCCURENCE: 3/20/2011 22:11
     INJURY AT WORK: NO
     PLACE OF OCCURENCE: Apartment
     LOCATION: 2216 Presidents Corner #601, Arlington, Texas 76011
     TRAUMA RELATED: Yes
     IDENTIFIED BY:
     IDENTIFICATION TYPE:
     DATE/TIME OF IDENTIFICATION:
     IDENTIFICATION STATUS:
     COMMENTS:
     ADDRESS:
     PHONE:

     NEXT OF KIN NOTIFICATION DATE/TIME:
     NOTIFIED BY:
     NOTIFYING AGENCY:
     NEXT OF KIN NAME:
     RELATIONSHIP:
     COMMENTS:
     ADDRESS:
     PHONE:
     BODY TO: TCMEO                                  CONVEYANCE: Lawson
     FUNERAL HOME:
                                                                                    3/21/2011
                                                                                    Pagel
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22
                                        Page 442 of 518 PageID 4512
         TARRANT COUNTY MEDICAL EXAMINER'S   DISTRICT
         SERVING TARRANT, PARKER, & DENTON COUNTIES
                                        Investigator's Report
     CASE#: 1103617           Tarrant       TYPE: Jurisdiction      IDENTITY: Unidentified

     NIZAM PEERWANI, M.D.                                                 MICHAEL FLOYD
     CHIEF MEDICAL EXAMINER                           CHIEF FORENSIC DEATH INVESTIGATOR

     NAME OF RELEASING AUTHORITY:

     RELATIONSHIP:

     DISPOSITION OF PROPERTY:


     MEDICAL INVESTIGATOR:
     James Greenwell   ·1'1




                                                                                 3/2112011
                                                                                 Page2
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                    Page 443 of 518 PageID 4513
                        TARRANT COUNTY MEDICAL EXAMINER'S DISTRICT
                        SERVING TARRANT, PARKER, & DENTON COUNTIES

                                         INVESTIGATOR'S REPORT


 NIZAM PEERWANI, M.D.                                    MICHAEL FLOYD
 CHIEF MEDICAL EXAMINER                                  CHIEF FORENSIC.DEATH INVESTIGATOR
 Case Number: II 03617                                   Case Type: Jurisdiction
 DECEDENT'S NAME: Unidentified Remains (3617)                                     AGE:
 ADDRESS:
 BIRTH DATE:                 MARITAL STATUS: Unknown                              PHONE:

CASE NO. 1103617 Tarrant

The decedent is an infant who was severely burned in an apartment fire while in a crib. Arlington Police are
investigating this case as a homicide with companion case # 1103616.
Arlington Police Detective ·Byron Stewart has requested trace evidence be completed on this case.

Photographs were taken of the scene.

Total # of photos: 42

Tentative Identification:

Asher Olivas, HIM DOB 02/25/2010




DESCRIPTION OF BODY:

The body is viewed at scene in the chard remains of what was once a crib. The body is of an infant, and is
burned beyond recognition.

MEDICAL HISTORY:

There is no known medical history for the decedent.

DETAILS OF INCIDENT:

This investigator responded to the scene, arriving at 0217 hours. I made contact with Detective Byron Stewart
of the Arlington Police Department who stated on Sunday, March 20 1h, 2011 at 2211 hours, Arlington Fire
Department responded to this location in reference to an apartment fire. Upon arrival, fire personnel observed
this apartment in flames, forced entry through the front door, and found the Mechelle Gandy on floor just inside
the door. Fire personnel pulled Mechelle from the apartment onto the parking lot where paramedics attempted
life savings measures without success. Paramedics observed what they believed to be multiple stab type wounds
on Mechelle's chest and back and she was pronounced at the scene, (companion case #1103616). Detective
Stewart requested Mechelle~s body be preserved for trace evidence. Detective Stewart stated they are currently
looking for the decedent, a white Hispanic named Asher Olivas, and the child's father, Thomas Olivas, HIM
DOB 11/2811982.
    Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22 Page 444 of 518 PageID 4514
                    Case No .. 110361 7 Tarrant County Medical Examiner's Office

While at the scene, Arlington Arson Investigator Stephen Lea located the chard remains of the decedent in the
back, southwest bedroom of the aparttnent. Lea stated the apartment fire was statted in this room and the door
to the bedroom was closed. The decedent was in a chard crib when found and the body was badly burned.
Detective Stewart requested the body of the decedent also be preserved for trace evidence and the possibility of
an accelerant used on the body.

I observed several blood splatters on the wall as I entered the apartment, on the front entry way floor and
kitchen floor. The decedent was wrapped inside a white sheet and placed inside a body bag.

UNIDENTIFIED BODY:

The following information may lead to the positive identification of the decedent.
Potential Name: Asher Olivas H/M DOB 02/25/20 I 0
Address: 22I6 Presidents Corner #60 I, Arlington, TX 76011

ORGAN TISSUE DONOR:

There is no signed consent form to allow harvesting of organs or tissue.

FOLLOW UP INVESTIGATIONS REQUIRED

Identify the decedent and notify the next of kin.

COMMENTS:

There was no property removed from the decedent at the morgue.




                                                                                                    Page 2 of2
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                 Page 445 of 518 PageID 4515


                                  Office of Chief Medical Exami ner
                             Tarrant County Medical Examiner's District
                                        Tarrant County, Texas
                                200 Feliks Gwozdz Place , Fort Worth , Texas 76104-4919
                                          (817) 920-5700 FAX (817) 920-5713


                             AUTOPSY REPORT
 Name: Asher Rion Olivas                                              CASE NO: 1103617
 Approximate Age: 1 Year                                              Sex: Male
 Height: 27 Inches                                                    Weight: 19.6 Pounds

 I hereby certify that on the 22"d day of March, 2011, beginning at 0900 hours, I,
 Shiping Baa, M.D., pursuant to Statute 49.25 of Texas Criminal Code,
 performed a complete autopsy on the body of Asher Rion Olivas at the Tarrant
 County Medical Examiner's District Morgue in Fort Worth , Texas and upon
 investigation of the essential facts concerning the circumstances of the death and
 history of the case as known to me, I am of the opinion that the findings , cause
 and manner of death are as follows :

 FINDINGS:
    I.    Found dead in a burning apartment
    II.   No medical history reported
    Ill.  A severely burned child's body covered by soot
    IV.   Right skull burned away with exposure of brain tissues
    V.    Right forearm and lower leg burned away
    VI.   Right lower chest and right abdominal walls burned away with exposure
          of organs
    VII. No blunt force or sharp force trauma could be identified on external
          examination
    VIII. No blunt force or sharp force injuries identified on internal organs
    IX.   No soot identified in larynx or trachea
    X.    Negative on postmortem toxicology study including carbon monoxide
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22   Page 446 of 518 PageID 4516
                                                             --,, .!~
                                                           c.:::-----:::;!17 /1
 Page 2 of 5                                                  "} f '.        11 03617
                                                              , \f Ash'er Rion Olivas

!CAUSE OF DEATH:        THERMAL BURNS

!MANNER OF DEATH:       HOMICIDE

 COMMENT: Due to severe burns to head and face, suffocation or head trauma
 could not be ruled out.




                                          Shiping Bao, M.D.

               r(tre~
                                          Deputy Medical Examiner


                                            zam Peerwani, M.D.
                                           hief Medical Examiner


                                          Marc Krouse, M.D.
                                          Chief Deputy Medical Examiner




                                          Lloyd White, ·M.D., Ph.D.
                                          Deputy Medical Examiner
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22        Page 447 of 518 PageID 4517



 Page 3 of 5                                                        r  L(       11o3s11
                                                                       Asher Rion Olivas



 A complete autopsy is carried out at the Tarrant County Medical Examiner's
 Morgue.


                     GROSS ANATOMIC DESCRIPTION


 I.    CLOTHING AND PERSONAL EFFECTS: The body is presented to the
 Morgue wrapped in a white sheet, secured in a white body bag and clad in:
    1. A burned blue shirt
    2. A burned diaper

 II.    THERAPEUTIC INTERVENTION: None

 Ill.   EXTERNAL BODY DESCRIPTION: The body is that of a severely burned
 child covered by soot. The right skull is burned away with exposure of brain
 tissues. The right forearm and lower leg are burned away. The right lower chest
 and right abdominal walls are burned away with exposure of organs. No blunt
 force or sharp force trauma could be identified on external examination. External
 genitalia could not be identified.

 IV.    INTERNAL EXAMINATION

 No blunt force or sharp force injuries are identified on internal organs.

 1.    INTEGUMENT: A Y-shaped thoracoabdominal incision is made and the
 organs are examined in-situ and eviscerated in the usual fashion.

 2.     SEROUS CAVITIES: No rib, sternal, or clavicular fractures are identified.

 3.      CARDIOVASCULAR SYSTEM: The heart weighs 59 grams and there is
 no chamber hypertroph.y or dilatation. The cardiac valves appear unremarkable.
 The coronary ostia are in the normal anatomical location leading into widely
 patent coronary arteries. Right dominant circulation is present. The endocardial
 surface is smooth without thrombi or inflammation. Sectioning of the myocardium
 presents no gross evidence of ischemic changes either of recent or remote
 origin.   The aortic arch along with the great vessels appears grossly
 unremarkable.
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22      Page 448 of 518 PageID 4518

                                                                   ......._,   ,,       /

  Page 4 of 5                                                         1)Asher   1

                                                                          > 1103617
                                                                                    (


                                                                              Rion Olivas

 4.     PULMONARY SYSTEM: No soot is identified in larynx or trachea. The
 lungs appear hyperinflated and together weigh 284 grams. Both the lungs
 appear severely edematous. There are no gross pneumonic lesions or abnormal
 masses identified. The tracheobronchial tree and pulmonary arterial system are
 intact and grossly unremarkable.

 5.    GASTROINTESTINAL SYSTEM:             The esophagus is intact with normal
 gastroesophageal junctions and without erosions or varices. The stomach is also
 normal without gastritis or ulcers, and contains food particles. Loops of small
 and large bowel appear grossly unremarkabl~. The appendix is unremarkable.

 The liver weighs 407 grams presenting a brown surface. On sectioning the
 hepatic parenchyma is yellow-brown, homogeneous and congested.                 The
 gallbladder is unremarkable containing no greenish bile. There is no cholecystitis
 or lithiasis. The biliary tree is patent. The pancreas weighs 12 grams and
 presents a lobulated yellow cut surface without acute or chronic pancreatitis.

 6.     GENITOURINARY SYSTEM: The left kidney weighs 24 grams, and the
 right 31 grams. On sectioning the cortex presents a normal thickness above the
 medulla. The renal columns of Bertin extend between the well-demarcated
 pyramids and appear unremarkable. The medulla presents normal renal
 pyramids with unremarkable papillae. The pelvis is of normal size and lined by
 gray glistening mucosa. There are no calculi. Renal arteries and veins are
 normal. The ureters are of normal caliber lying in their course within the
 retroperitoneum and draining into an unremarkable urinary bladder containing
 approximately 2.0 mL of urine.

 External genitalia could not be identified. The prostate is unremarkable.

 7.    HEMATOPOIETIC SYSTEM: The spleen weighs 74 grams, presenting a
 gray-pink intact capsule and a dark red parenchyma.   There is no
 lymphadenopathy. The thymus gland is unremarkable.

 8.    ENDOCRINE SYSTEM: Thyroid gland is of normal size and shape,
 presenting two well-defined lobes with connecting isthmus and a beefy brown
 cut-surface. There are no goitrous changes or adenomas present. The adrenal
 glands are of normal size and shape and sectioning presents no gross
 pathological lesions.

 9.   CENTRAL NERVOUS SYSTEM:                   A scalp incision, craniotomy and
 evacuation of the brain are carried out in the usual fashion.
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22      Page 449 of 518 PageID 4519


  Page 5 of 5                                                  ~/<r;"?        1103617
                                                                      Asher Rion Olivas



 The brain weighs 761 grams and is fragmented on examination. No blunt force or
 sharp force injuries could be identified. Spinal cord is not examined.



                SPECIMENS AND EVIDENCE COLLECTED


 1.     20 ml of aortic blood and 2 ml of urine for further examination
 2.     Representative tissue sections in formalin for possible further examination
 3.     Blood cards
 4.     Representative photographs
 5.     2 X-ray films


 EDC: 05/21/11
 Completed: 04/13/11
 SB/akc
            Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                                                   Page 450 of 518 PageID 4520
                                                     MEDICAL ABSTRACT OF DEATH Ct::RTIFICATE
      STATE OF TEXAS                                                                                                                             STATE FILE NUMBER 041775

              ENTER NAME OF DECEASED AND PLACE OF DEATH EXACTLY AS SHOWN ON THE ORIGINAL DEATH CERTIFICATE
     1. LEGAL NAME OF DECEASED (Include AKA's, if any) (First, Middle, Last)                                                                                        DATE OF DEATH

     ASHER RION OLIVAS                                                                                                                                                                     0312112011
     PLACE OF DEATH(CITY OR TOWN AND COUNTY)                                                                                                                        IS THE DATE OF DEATH BEING CORRECTED?
                                                                                                                                                                         0   Yes       0    No




                                                                                                                                                                                                                -1
     ARLINGTON, TARRANT
     26. CERTIFIER (Check only one)
      0
      181
            Certifying physician-To tho bost of my knowledge, death occurred due to tho causo(s) and manner stated.




     SHIPif>:IG BAO
     31. PRINTED NAME, ADDRESS OF CERTIFIER (Street and Number, City,state,Zip Code)
                                                                                                                      4/14/2011
                                                                                                                                              r     UCENSE NUMBER

                                                                                                                                                          N2395
                                                                                                                                                                              rr
          Medical ExaminodJustice of the Peace· On the basis of examination, and/or investigation, in my opinion, death OCQ!red at the time,dato and place, and due to the cause(s) and manner stated.
     27.Signature of certifier:
                                                                                                     I""· DATE CERTIFIED (Mo/Day/Yo..,                                             TIME OF DEATH(Adual o<

                                                                                                                                                                                                  03:00AM
                                                                                                                                                                                       Till£ OF CERTIFIER

     SHIPING BAO 200 FELIKS GWOZDZ PLACE, FORT WORTH, TX, 76104                                                                                                                    MD
            33. PART 1. ENTER THE CHAIN OF EVENTS ·DISEASES, INJURIES. OR COMPLICATIONS· THAT DIRECTLY CAUSED THE DEATH. ~ ENTER                                                                 Approximate int81V81
            TERMINAL EVENTS SUCH AS CARDIAC ARREST, RESPIRATORY ARREST, OR VENTRICULAR FIBRILLATION WITHOUT SHOWING THE                                                                          Onset to death
            ETIOLOGY. DO NOT ABBREVIATE. ENTER ONLY ONE CAUSE ON A UNE.
      :I:
      <
      w 1MMEDIATE CAUSE (Final
      0 disease or condition -->            a.   THERMAL BURNS                                                                                                                                    UNKNOWN
      u.
      0 resulting in death)                                                       Due to (or as a consequence ot):
      w
      UJ
      :::> Sequentially list conditions, if b.
      <S any, leading to the cause                                                Due to (or as a consequence ot):
           listed on line a. Enter the
           UNDERLYING CAUSE
           (disease or injury that          c.
           initiated, the events resulting                                        Due to (or as a consequence ot):
           in death) LAST

                                           d.
     PART 2. Enter other significant conditions contnbutino to death but not resulting In the underlying                                                     34. WAS AN AUTOPSY PERFORMED?
     cause given in PART I.                                                                                                                                          ~Yes     0 No
                                                                                                                                                             35. WERE AUTOPSY FINDINGS AVAILABLE TO
                                                                                                                                                             COMPLETE THE CAUSE OF DEATH?
                                                                                                                                                                                          181 Yes                   0   No
     36. MANNER OF DEATH            37. DID TOBACCO USE                                    38. IF FEMALE:                                                               39. IF TRANSPORTATION INJURY, SPECIFY:
      0 Natural                     CONTRIBUTE TO DEATH?                                    0 Not pregnant within past year                                              0   Driver/Operator
      0 Accident                     0 Yes                                                  0    Pregnant at lime of death                                               0   Passenger
      0 Suidde                       ~No                                                    0    Not pregnant, but pregnant within 42 days of death                      0   Pedestrian
      181 Homicide                   0 Probably                                             0    Not pregnant. but pregnant 43 days to one year before death             0   Other (Specify)
      0 Pending Investigation        0 Unknown                                              Cl   Unknown if pregnant within the past year
      0 Could not be detennined
     40a. DATE OF INJURY (MoiDayiVr) 40b. TIME OF INJURY                  rOc. INJURY AT WORK? rOd. PLACE OF INJURY (e.g, Decedenrs home, construction site, restaurant, wooded area)
(0
0                 03/21/2011 .                       03:00AM               0   Yes          ~ No        PRIVATE RESIDENCE
0
£:!  40e. LOCATION (Street and Number, City,State,Zip Code)                                                                                                        rOf. COUNTY OF INJURY
..... 2216 PRESIDENTS CORNER, # 601, ARLINGTON, TX, 76011                                                                                                           TARRANT
     41. DESCRIBE HOW INJURY OCCURRED


     THERMAL BURNS
     42a. REGISTRAR FILE NO.                     42b. DATE RECIEVED BY LOCAL REGISTRAR                    42c. REGISTRAR


                    03-0567                                          4/8/2011                             REGISTRAR- CITY OF ARLINGTON




                                                                                                                                                                             DATE ________________
                  000000921551                                                                                                                                                                   QL11 REV. 11/04
             Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                                        Page 451 of 518 PageID 4521
                                                      MEu1CAL ABSTRACT OF DEATH C.,L..RTIFICATE
      STATE OF TEXAS                                                                                                                      STATE FILE NUMBER

               ENTER NAME OF DECEASED AND PLACE OF DEATH EXACTLY AS SHOWN ON THE ORIGINAL DEATH CERTIFICATE
       1. LEGAL NAME OF DECEASED (Include AKA's. if any) (First. Middle. Last)                                                                           DATE OF DEATH

      ~SHER RION OLIVAS                                                                                                                                                         03/21/2011
      PLACE OF DEATH(CITY OR TOWN AND COUNTY)                                                                                                             IS THE DATE OF DEATH BEING CORRECTED?
                                                                                                                                                              DYes          0    No
      ARLINGTON, TARRANT
      26. CERTIFIER (Check only one)
       D Certifying phys.cian-1 o lho best of mt knowledge, death occurred due to the cause(s) and manner stated.




      SHIPING SAO
                                                                                                  r··
                                                                                                               3/29/2011              1         N2395
                                                                                                                                                                   r
       181 Medical ExaminortJusbcCI oltho Peace- On tho basis of examination, and/or investigation, in my opinion, death occured at the time,date and place, and due to tho cause(s) and maMer staled.
      27.Signature of cert1fter                                                                          DATE CERTIFIED(Mo/Oay/Y8M) 29. UCENSE NUMBER                                TIME OF DEATH("""" o< - 1

                                                                                                                                                                                       03:00AM
      31. PRINTED NAME. ADDRESS OF CERTIFIER (Street and Number. Cily,state.Zip Code)                                                                                  132. TITLE OF CERTIFIER
      SHIPING SAO 200 FELIKS GWOZDZ PLACE, FORT WORTH, TX, 76104                                                                                                        MD
             33. PART 1 ENTER THE CHAIN OF EVENTS - DISEASES, INJURIES. OR COMPLICATIONS -THAT DIRECTLY CAUSED THE DEATH. QQ.l::!QI ENTER                                             Approximate intBIVal
             TERMINAL EVENTS SUCH AS CARDIAC ARREST. RESPIRATORY ARREST, OR VENTRICULAR FIBRILLATtON WITHOUT SHOWING THE                                                              Onset to death
             ETIOLOGY DO NOT ABBREVIATE. ENTER ONLY ONE CAUSE ON A LINE.
       J:

       ~
       0
          IMMEDIATE CAUSE (Final
                                             a. PENDING                                                                                                                                UNKNOWN
          disease or condit1011 -->
       u.
       0 resulting in death)                                                  Due to (or as a consequence of):
       w
       !/)
       :J Sequentially hst cond1t1ons. if b.
       <
       0     any, leading to the cause                                       Due to (or as a consequence of):
             listed on line a Enter the
             UNDERLYING CAUSE
             (disease or 1njury that         C.
             initiated. the events resulting                                 Due to (or as a consequence of):
             in death) LAST

                                             d.
      PART 2. Enter other significant conditions conldbuling to death but not resulting in the undertying                                          34. WAS AN AUTOPSY PERFORMED?
      cause given in PART I.                                                                                                                               181 Yes   0 No
                                                                                                                                                   35. WERE AUTOPSY FINDINGS AVAILABLE TO
                                                                                                                                                   COMPLETE THE CAUSE OF DEATH?
                                                                                                                                                                                0 Yes                    181   No
      36. MANNER OF DEATH           37. DID TOBACCO USE                               38. IF FEMALE:                                                         39.1F TRANSPORTATION INJURY. SPECIFY:
       0 Natural                    CONTRIBUTE TO DEATH?                               0     Not pregnant within past year                                    0   DriveriOperator
       0 ACCident                    0 Yes                                             0     Pregnant at time of death                                        0   Passenger
       0 SuiCide                     181 No                                            0 Not pregnant. but pregnant within 42 days of death                   0   Pedestrian
       181 HomiCide                  D Probably                                        0 Not pregnant. but pregnant 43 days to one year before death          0   Other (Specify)
       D Pending Investigation       0 Unknown                                         D Unknown if pregnant within lhe past year
       D Could not be determined
      408. DATE OF INJURY (Mo/OayNr) 40b. TIME OF INJURY              rOc. INJURY AT WORK? t40d. PLACE OF INJURY (e.g, Oecedenrs home. construction site. restaurant, wOOded area)
c.o                03/21/2011                         03:00AM          0   Yes         181   No     PRIVATE RESIDENCE
0
0
~
~
      40e. LOCATION (Street and Number. City,State.Zip Code)                                                                                             rOf. COUNTY OF INJURY
      2216 PRESIDENTS CORNER, # 601, ARLINGTON, TX, 76011                                                                                                 TARRANT
      41. DESCRIBE HOW INJURY OCCURRED


      PENDING LAB STUDIES
      42a. REGISTRAR FILE NO.                     42b. DATE RECIEVED BY LOCAL REGISTRAR                 42c. REGISTRAR




                                                                                                                                                                  DATE _________________
                   000000921551                                                                                                                                                       QL 11 REV. 11/04
              Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                                                   Page 452 of 518 PageID 4522
                                                        MEuiCAL ABSTRACT OF DEATH LcRTIFICATE
        STATE OF TEXAS                                                                                                                              STATE FILE NUMBER
                ENTER NAME OF DECEASED AND PLACE OF DEATH EXACTLY AS SHOWN ON THE ORIGINAL DEATH CERTIFICATE
        1. LEGAL NAME OF DECEASED (lndude AKA's, if any) (First, Middle, Last)                                                                                        DATE OF DEATH

        UNIDENTIFIED 1103617 REMAINS                                                                                                                                                         03/21/2011
       PLACE OF DEATH(CITY OR TOWN AND COUNTY)                                                                                                                        IS THE DATE OF DEATH BEING CORRECTED?

       ARLINGTON, TARRANT
                                                                                                                                                                           0   Yes       0    No




                                                                                                                                                                                r
       26. CERTIFIER (Check only one)
        0 Certifying physician-To the best of my knowledge, doalh occurred due to tho cause(s) and manner stated.
        181   Medical ExaminedJuslico of tho Poaco- On the basis of examination, and/or investigation, in my opinion, doath occured atthelimo,date and placo, and due to tho cause(s) and manner stated.
       27.Signature of certifier:
                                                                                                         l'a                                     I'"·
                                                                                                                                                                                   r
                                                                                                               DATE CERTIREO (Mol!layiYe&<)             LICENSE NUMBER               TIME OF OEATH(Aduol ".,...._

       SHIPING BAO                                                                                                    3/22/2011                             N2395                                   03:00AM
       31. PRINTED NAME, ADDRESS OF CERTIFIER (Street and Number, City,state,Zip Code)                                                                                                  TiTLE OF CERTIFIER

       SHIPING BAO 200 FELIKS GWOZDZ PLACE, FORT WORTH, TX, 76104                                                                                                                    MD
              33. PART 1. ENTER THE CHAIN OF EVENTS -DISEASES, INJURIES, OR COMPLICATIONS -THAT OIRECTLY CAUSED THE DEATH. DO NOT ENTER                                                            Approximate interval
              TERMINAL EVENTS SUCH AS CARDIAC ARREST, RESPIRATORY ARREST, OR VENTRICULAR FIBRILLATION Vv1THOUT SH0Vv1NG THE                                                                        Onset to death
              ETIOLOGY. DO NOT ABBREVIATE. ENTER ONLY ONE CAUSE ON A LINE.
        J:
        1-
        <
        w     IMMEDIATE CAUSE (Final
        0     disease or condition - >         a.   PENDING                                                                                                                                         UNKNOWN
        ll-
        0     resulting in death)                                                  Due to (or as a consequence of):
        w
        1/)
        ::l
              Sequentially list conditions, if b.
        tj    any, leading to !he cause                                            Due to (or as a consequence of):
              listed on line a. Enter the
              UNDERLYING CAUSE
              (disease or injury that          c.
              initiated, the events resulting                                      Due to (or as a consequence of):
              in death) LAST

                                               d.
       PART 2. Enter other significant conditions contribu!ina to death but not resulting in the underlying                                                    34. WAS AN AUTOPSY PERFORMED?
       cause given in PART I.                                                                                                                                          181 Yes  0 No
                                                                                                                                                               35. WERE AUTOPSY FINDINGS AVAILABLE TO
                                                                                                                                                               COMPLETE THE CAUSE OF DEATH?
                                                                                                                                                                                            0 Yes                     181   No
       36. MANNER OF DEATH           37. DID TOBACCO USE                                    38. IF FEMALE:                                                                39. IF TRANSPORTATION INJURY, SPECIFY:
        0 Natural                    CONTRIBUTE TO DEATH?                                    0 Not pregnant within past year                                               0   Dfiver/Operator
        0 Accident                    0 Yes                                                   0     Pregnant at time of death                                              0   Passenger
        0 Suicide                     181 No                                                  0     Not pregnant. but pregnant within 42 days of death                     0   Pedestrian
        181 Homicide                  0 Probably                                              0     Not pregnant, but pregnant 43 days to one year before death            0   Other (Specify)
        0 Pending Investigation       0 Unkna.vn                                              0     Unknown if pregnant within the past year
        0 Could not be detennined
       40a. DATE OF INJURY (Mo/OayNr) 40b. TIME OF INJURY                  rOc. INJURY AT VVORK? rOd. PLACE OF INJURY (e.g, Decedenrs home, construction site, restaurant. wooded area)
co                  03/21/2011                          03:00AM             0   Yes           181   No    PRIVATE RESIDENCE
0
0
t:!
       40e. LOCATION (Street and Number. City,State,ZipCode)                                                                                                         rOf. COUNTY OF INJURY
....   2216 PRESIDENTS CORNER, #601, ARLINGTON, TX, 76011                                                                                                             TARRANT
       41. DESCRIBE HOW INJURY OCCURRED


       PENDING LAB STUDIES
       42a. REGISTRAR FILE NO.                      42b. DATE RECIEVED BY LOCAL REGISTRAR                      42c. REGISTRAR




                                                                                                                                                                               DATE _________________
                    000000921551                                                                                                                                                                 QL 11 REV. 11/04
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                                      Toxicology Test Results

   Office of Chief Medical Examiner               Nizam Peerwani, M.D., DABFP
   Toxicology Laboratory Service                  Chief Medical Examiner
   200 Feliks Gwozdz Place                        Susan R. Howe, PH.D., DABFT
   Fort Worth, Texas 76104                        Acting ChiefToxicologist
   Name: Asher Rion Olivas                        Priority: 0
   CaseN                                          Service Request Number: 004



  Specimen           Drug                          Result       Drug Amount     Performed By
  AORTA BLOOD        ETHANOL AxSYM                 NEGATIVE                     B. LANDRY
  URINE              CANNABINOIDS AxSYM            NEGATIVE                     B. LANDRY
  URINE              COCAINE AxSYM                 NEGATIVE                     B. LANDRY
  URINE              OPIATES AxSYM                 NEGATIVE                     B. LANDRY
  URINE              AMPHETAMINES AxSYM            NEGATIVE                     B. LANDRY
  URINE              BENZODIAZEPINES AxSYM         NEGATIVE                     B. LANDRY
  AORTA BLOOD        CARBON MONOXIDE               NEGATIVE                     B. LANDRY
  AORTA BLOOD        ACID                          NEGATIVE                     S. BOTCH
  AORTA BLOOD        BASE                          NEGATIVE                     S. BOTCH




  Approved Date:
                                      I/
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                     Page 454 of 518 PageID 4524



                             Toxicology M.E.          I~cqucst   Form

   Name: Unidentified Remains (3617)                  Tox Nun1ber: 1100614
   M.E. Case Nun1ber: 1103617                         Date of Inquest: 3/22/2011 10:23:56 AM
   Date of Death/Found: 3/21/20113:00:00 AM           Hospitaliz'ation: No
   Prosector: Shiping Bao, M.D.                       I\1edications: No
   Hospital Na1ne:                                    Priority: 2

   Test Requested:
    (x) ABN Screen
    (x) Amphetamine and Benzodiazepines Screen
    (x) Carbon Monoxide
  · (x) Ethanol
    (x) Opiates, TBC, Cocaine Screen



   Remarks:


   S ecimens Submitted
   Descri tion                         Amount           Item Number
   Blood, Aorta                        20.00
                                       M illilitcrs
                                                        110322029
                                                                       mmnru1nmnmm~n1mm
                                                                        1 1 0 3 2 2 0 2 9
   Urine                               2.00
                                       Milliliters
                                                        110322030
                                                                       llllrunmrniJin~mmJn~m~nmt
                                                                         1 1 0 3 2 2 0 3 0




   Cause of Death: PENDING LAB STUDIES
   Method of Death: HOMICIDE

                                                            Date:     3-23-1/e S?~ro

                                                             Datc:J-J-2-u        (7G 023o
                                RECEIVED     12/13/2011 16:52             8179205719                      TCME

Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                              Page 455 of 518 PageID 4525
                                                             NMS Labs                                         CONFIDENTIAL
                                       3701 Welsh Road. PO Box 433A. Wdlow Grove. PA 19090-0437
                                               Phone: (215) 657-4900 Fax: (215) 657-2972
                                                         e-mail: nms@nmslabs.com
                                     Robert A. Middleberg, PhD, DABFT, DABCC-TC, Laboratory Director



Toxicology Report                                                          Patient Name         OLIVAS, ASHER R.
                                                                           Patient 10           ME#1103617
Report Issued        12/13/2011 16:02
                                                                           Chain                11062972
Last Report Issued        12/13f2011 12:00                                 Age                  Not Given
  To:        10147                                                         Gender               Male
             Tarrant County Medical Examiner                               Workorder            11314815
             Office of the Medical Examiner                                Page 1 of 3
             200 Feliks Gwozdz Place
             Fort Worth, TX 761044919



 Positive Findings:

        Compound                                               Result                !!Jill!           Matrix Source
        Carboxyhemoglobin                                      12                     %                Aortic Blood
        Cyanide                                                0.17                   mcg/ml           Aortic Blood
        Carboxyhemoglobin                                      See Note               %                Blood


        See Detailed Findings section for additional information

 Testing Requested:
        Analysis Code                            Description
        1002B                                    Carbon Monoxide Exposure Biouptake Screen, Blood
        1380B                                    Cyanide, Blood

 Specimens Received:
        ID     Tube/Container              Volume/       Collection              Matrix Source               Miscellaneous
                                           Mass          Date/Time                                           Information
        001 Red Vial                       3.2ml         03/22/2011 09:00        Aortic Blood
        002 Red Vial                       0.75 ml       Not Given               Blood

        All sample volumes/weights are approximations.
        Specimens received on 11/11/2011, 12/02/2011.




                                                                                                                             v.a
                               RECEIVED       12/13/2011 16:52            8179205719                      TCME

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                                      CONFIDENTIAL                 Workorder          11314815

.NMS           LASS        j
                                                                   Chain
                                                                   Patient ID
                                                                                      11062972
                                                                                      ME#1103617

                                                                   Page 2 of3


  Detailed Findings:
                                                                             Rpt.
   Analysis and Comments             Result                Units             Limit       Specimen Source               Analysis By

   Carboxyhemoglobin                 12                     %               2.0          001 - Aortic Blood            SP
        There was a discrepancy between the results of the two carboxyhemoglobin analyses: The analysis performed by
        spectrophotometry (SP) on specimen-001 yielded a result of 12% saturation; however, the analysis by
        microdiffusion (MD) on both specimens-001 and -002 indicated that no carboxyhemoglobin was present in the
        specimen. The Carboxyhemoglobin result by SP may have been falsely elevated due to the presence of
        Methemoglobin and Sulfhemoglobin and/or the presence of an unknown interfering substance; it was noted that the
        blood appeared to be severely decomposed.

        A direct analysis of carbon monoxide in the specimen by gas chromatography/mass spectrometry (GC/MS) that
        uses the measured specimen iron concentration (i.e., Test Code 1006B- Carbon Monoxide/Iron Ratio) may help to
        clarify the issue. If this is desired, please contact NMS Labs for additional details concerning this test.
   Cyanide                          0.17                    mcg/ml          0.10         001- Aortic Blood             SP
   Carboxyhemoglobin                 See Note               %                2.0         002- Blood                     MD
        Microdiffusion (MD) result is not congruent with the Spectrophotometry (SP) result.

   Other than the above findings, examination ofthe specimen(s) submitted did not reveal any positive findings of
   toxicological significance by procedures outlined in the accompanying Analysis Summary.

  Reference Comments:
   1.     Carboxyhemoglobin (COHb) - Blood, Aortic Blood:
            Hemoglobin is a protein found in red blood cells that is responsible for the oxygen carrying capacity of blood. In
            normal conditions, hemoglobin receives oxygen via blood circulation through the lungs and delivers the oxygen
            to tissues and organs throughout the body. In situations where the inspired air is high in carbon monoxide
            concentration, the hemoglobin then binds the carbon monoxide in place of oxygen. This leads to a functional
            deficiency in oxygen delivery to the organs and tissues of the body.

            Measurement of carbon monoxide hemoglobin saturation gives an indication of the carbon monoxide
            concentration in the inspired air and its possible sequelae. Normal endogenous carboxyhemoglobin levels are
            generally up to 4% in non-smokers and up to 8% in smokers (although it may be higher); toxic symptoms may
            be noted at levels >10%. Concentrations over 10% saturation have been reported to produce adverse effects,
            e.g., headache and nausea. Deaths from carbon monoxide, in the absence of resuscitative measures,
            generally have associated carboxyhemoglobin levels >40%. However, individuals with a compromised
            cardiovascular system are at a potentially greater risk of toxic effects at much lower carbon monoxide
            hemoglobin saturation values.
   2.     Cyanide • Aortic Blood:
            Cyanide is a potent, rapidly acting lethal poison. Common sources include industrial manufacturing by-
            products, plants, fruit pits, chemicals and combustion products of certain plastics. Because of the latter, cyanide
            may play a role in the hypoxic events from fires. Its toxic effects are exerted via inhibition of aerobic
            metabolism, i.e., an inability to effectively use oxygen.

            Endogenous plasma cyanide concentrations for non-smokers are reported to approximate 0.004 mcg/ml. In
            smokers, plasma levels may increase to 0.006 mcg/ml. The values in whole blood are somewhat higher; non-
            smokers, 0.02 mcg/ml; smokers, 0.04 mcg/ml. Individuals on nitroprusside therapy for high blood pressure
            may also have elevated levels of cyanide (0.05 - 0.5 mcg/ml).




                                                                                                                                     v.8
                                                                                                        TCME

Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                           Page 457 of 518 PageID 4527
                                    CONFIDENTIAL                 Workorder          11314815
                                                                 Chain              11062972
                                                                 Patient ID         ME#1103617

                                                                 Page 3 of3

 Reference Comments:
          Blood concentrations of cyanide can increase or decrease during storage depending on the length of time, the
          temperature and the presence of cyanogenic bacteria (bacteria that form cyanide as a by-product of
          metabolism).

          In general, individuals with blood cyanide levels lower than 0.2 mcg/ml are asymptomatic; between 0.5 and 1.0
          mcg/ml, signs of toxicity may be noted, e.g., flushing and tachycardia; and over 1.0 mcg/ml, stupor, agitation,
          coma and death may occur. Concentrations found in fire victims ranged from 0.17- 2.2 mcg/ml. Average
          concentrations reported in fatal cases were 7 and 12.4 mcg/mL for inhalation and oral routes of administration,
          respectively.

   Chain of custody documentation has been maintained for the analyses performed by NMS Labs.

   Unless alternate arrangements are made by you, the remainder of the submitted specimens will be discarded six (6)
   YJeeks from the date of this report; and generated data will be discarded five (5) years from the date the analyses YJere
   performed.

                                                                            Workorder 11314815 was electronically
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                                                                            Edward J. Barbieri, Ph.D.
                                                                            Forensic Toxicologist

 Analysis Summary and Reporting Limits:

   Acode 1002B- Car~n Monoxide Exposure Biouptake Screen, Blood- Aortic Blood

     -Analysis by Spectrophotometry (SP) for:

       Compound                                 Rpt. Limit              Compound                                Rpt. Limit
       Carboxyhemoglobin                       2.0%

   Acode 1380B - Cyanide, Blood - Aortic Blood

     -Analysis by Spectrophotometry (SP) for:
       Compound                                 Rpt. Limit              Compound                                Rpt. Limit
       Cyanide                                 0.10 mcg/ml

   Acode 5654B - Carbon Monoxide Exposure Biouptake Confirmation, Blood

     -Analysis by Microdiffusion (MD) for:
       Compound                                 Rpt. Limit              Compound                                Rpt. Limit
       Carboxyhemoglobin                        2.0%




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                                                               Missing Persons DNA Database Report


   March 28, 2011

   UNTCHI Case Number 1: 11-0547
   UNTCHI Case Number 2: 11-0548

   Submitting Agency:
   Roger Metcalf, DDS


                                                                                    Q
   Tarrant County Medical Exatniner
   200 Feliks Gwozdz Place
   Fort Worth, TX 76104

   Agency Case Numbers: 11036 , 1103617
   NCIC Number: Not provided  .
   NamUs Number: Not provided


   ITEMS RECEIVED

   Received from Roger Metcalf, DDS on March 23, 2011:

                   11-0547.1                            Family Reference Sample, Mechelle Gandy, representing the
                                                        mother of a missing person, Asher Olivas

                   11-0548.1                            Unidentified Rernains Satnple, blood card


   TESTING PERFORMED

   Human DNA extracted from itern 11-0548.1 was analyzed for thirteen (13) genetic loci
   using the Applied Biosysterns AmpFfSTR Profiler Plus 10 and COfiler systems; human
   DNA extracted from item 11-0547.1 was analyzed for fifteen ( 15) genetic loci using the
   Applied Biosystems AmpFtSTR ldentifiler syste1n.

  The genetic data obtained from items 11-0548.1 and 11-0547.1 were uploack~d into the
  Unidentified J-/u1nan (l~emains) and Relatives of Missing Person indices of the
  Combined DNA Index Systern (COOlS). An association between these samples was
  noted.
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Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                                                      Page 459 of 518 PageID 4529
    March 2U, 20·11
    UNTCI-11 Case Numbers: 1·1~0!itrl, ·1·1··0548
    Agency Case Numbers: 11 o:~G1 G, ·J·HJJG'I'l
    IVlissing Persons DNA Database Report
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    RESULTS

   The genetic cJata obtained frorn items ·11-0548.1 and ·1·1-0547. ·1 are consistent with the
   unidentified human remains belongin~J to a bioiOfJicnl child of Mechelle Gandy.

   These genetic data (auto~ornal STR~)} an-~ approxirnatdy ·1.1 anillion thnes snore likely
   to be obse1ved under tile scen:Jriu that the unidentified ren 1ain~ originated fron1 a
   biological child of Mechelie Gandy as oppof>ed to the unidentified rernains originating
   frorn an unrelated individual from one of the three rnajor U.S. population groups (African
   Arnerican, Caucasian and Southwestern l·lispanic). 1

   The submission of additional first--order relatives could significantly increase the above
   statistical calculation. If additional statistical weight is needed, JJiease contact the
   laboratmy to detennine which first-order relatives would provide the 1nost inforntative
   comparisons.

   Investigators are strongly encouraged to evaluate all associated case infonnation in
   addition to the provided genetic results before declaring identity of the remains.

   In the event that an identification is rendered by the appropriate legal authority, a copy
   of the death cetiificate must be subn1itted to the laboratory so that all genetic data
   obtained from the associated fatnily reference sample{s) can be expunged from the
   COOlS database.

   The remainder of the reference iterns and a portion of the submitted remains will be
   1naintained by the UNT Center for Human Identification laboratory. Hemaining items
   will be returned to the original subn1itting agency.

   In the event that you have any questions or if we can be of further assistance, please
   feel free to contact the laboratory at 8'17--735--2143.

   The above is the opinion of the undersionecl, and this report shall not be reproduced
   without verbal or written permission.

   'Allele frequency dnt;1 obtainecl f(Om Buclowle et.al, .1 Forensic Sci 19!19; '11\(li):12Tt-1?.HG.


   Sincerely,                            ,

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                                             Case#:      1103617
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                           Exhibit#:         County: Tarrant
                          :Deceased    Unidentified Remains (3617)
                           Name:
                           Item        Remains 03/22/2011
Mar 22 11 05:37p          Wade Funeral Home                          8172749237                             p. 1

        Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                   Page 461 of 518 PageID 4531
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                             OFFICE OF THE CHIEF MEDICAL EXAMINER
                          TARRANT ~OUNTY MEDICAL EXAMINER'S DISTRICT

                                          200 Feliks Gwozdz Place
                                      Fort Worth, Texas 76104-4919
                                Phone: 817-920-5700_    Fax: 817-920-5713

                                                                    Date:~ 21l I ( _
            This authorizes the Tarrant County Medical Examjner's District, Fort Worth,

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            Texas, to deliver the remains of:_

            to the   -WaJ.e            fim ;     \.J.          funeral home.

            Please complete funeral home information below: · ·                ...

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            Add.ress:

            Phone: B 1]- 2 7lf- '12.33 Fax: _&J . . ~1l(-.::-il..3 7State/ZIP: T )C · -(f:, "{) !)>

            Authorization is also given to the above named· funeral home, or its .deSignated
            agents, to rerr1ove the said deceased to their pl~ce of business to care for, and
            prepare for disposition in accordance with professional standards.

            Funerar home is authorized to receive valuables:        ~}Yes            t    ) No·
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                                                                                                  Pnnted Name

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                                                                             Relationship to deceased

               Note: Cash over $50.00 must be picked up in person by decedent's next-of-kin.

            ME-23
            GPC-1953
            Rev.10/09
Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                        Page 462 of 518 PageID 4532
                                      Evidence Chain of Custody
                           TARRANT COUNTY MEDICAL EAMINER'S OFFICE
                                      200 Feliks Gwozdz Place
                                    Fort Worth, Texas 76104-4949


    Case Information
           Case Number        1103617
              Case Type       Jurisdiction
        Decedent's Name       Asher Rion Olivas
                   Race       Unknown
                    Age       1
                    Sex       M
           Date of Death      3/21/2011 3:00:00 AM
              Case Note


    Exhibit Number       I1           I Description I Human remains, No Clothing 03/29/2011
    Note:     I
    Date And Time                            Relinquisher                Receiver
    3/21/2011 04:18:19                       AI Davis                    James Greenwell
    3/21/2011 04:18:19                       James Greenwell             Morgue Incoming Fridge
    3/29/20 11 11 :08                        Morgue Incoming Fridg_e     Ronnie Redic
    3/29/2011 11 :08                         Ronnie Redic                Blake Wade




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                                                                                            EXHIBIT
                                                                                       ~   2£!,~ . ~
                                                                                              ~q/zshlf); ~

                              BUSINESS RECORDS AFFIDAVIT




           Before me, the undersigned authority, personally appeared James M. Dore who,
    being by me duly sworn, deposed as follows:


           My name is James M. Dore and I am of sound mind, capable of making this
    affidavit, and personally acquainted with the facts herein stated:


           I am the Custodian of the Records of Incredible Technologies, Inc. Attached
    hereto are      /          pages of records from Incredible Technologies, Inc. These
    _ _ __,/_ __ pages of records are kept by Incredible Technologies, Inc. in the
    regular course of business, and it was in the regular course of business of Incredible
    Technologies, Inc. that an employee or representative oflncredible Technologies, Inc.
    with knowledge of the act, event, condition, opinion, or diagnosis, recorded to make the
    record or to transmit information thereof to be included in such record; further the record
    was made at or near the time or reasonably soon thereafter. The records attached hereto
    are the original or exact duplicates of the originals.



                                                             J.ffiant Signature
                                                                                  ()vk~
    SWORN TO AND SUBSCRIBED before me on the S rh                       day of _ _2 0 Id.



                                                             ~ANn ~
                                                   Notary Public in and for the State of Il lm

                                                   Notary Public' s printed Name:
                                                                                          \
                                                                                  ( kt.JS 101
                                                   My commission expires:          D~   /oq I tS
                                                                                                              GAME PLAY DATA FOR:
                                                                                                                  THOMAS OLIVAS
                              Case 4:22-cv-00385-O Document 16-26 Filed 08/16/22                           Oates 3119/11 - 3122111 lndusive            Page 512 of 518 PageID 4582
                                                                                                        INCREDIBLE TECHNOLOGIES, INC.
                                                                                                         Produced by Database lnquity 8/8112



                                                                                                                   PLAYER_            LOCATION_                                                    POSTAL TIME_SPENT_
CABINET_ID PLAYER,_ID                                           SESSION_ID START_TIME           END_TIME           STATUS LOCATION_IO NAME                   ADDRESS              CITY     STATE   _CODE INJ.IINUTES
     156507 ~9bda81f8blla 1 70155c51abfc9fe8 18dfaebbo88          1300514008   3119/1 1 5:54AM     3/19/11 6:04AM         I     43806 TNT                    104 PRESTON          DALLAS   TX      75254   -9.883333333
     158<C87 49bda81fl!b9a170155c51abfc9fe818dfoebba88            1300646796   3120/1 1 6:47 PM    3120/117:05 PM               60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054            - 17.85
     158<C87 ~9bd a81 fl!b9a170 1 5~1abfc9fo818dfaebba88          1300647943   3120/11 7:06PM      31201117:27 PM               60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054              ·21.1
     15~87 49bda81fl!b9a170155c51abfc9fa818dfaebba88              1300649261   3120/1 1 7:28PM     3120/11 7:« PM               60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054            - 15.65
     158<C87 49bda81fl!b9a170155c51 ablc9fe818dl~ebba88           1300650256   3120/11 7:« PM      3120/11 8:01 PM              60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054   -16 26666667
     158<CB7 49bda81fl!b9a170155c51 abfc9fe818dlaobba88           1300651275   3120/118:01 PM      3120/118:17 PM               60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054   -15.56666667
     158<C87 49bda8118b9a170155c51ablc9fa818dlaabba88             1300652430   3120/11 8:21 PM     3120/11 8:38PM               60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054   -17. 13333333
     15~87 49bda8118b9a170155c51abfc9fe818dlaobba88               1300653499   3120/1 1 8:39 PM    3120/11 8:55 PM              60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054            -16.45
     15~87 49bda8118blla170155c51abfc9fe818dlaebba88              1300654532   3120/118:56 PM      3120/119:14 PM               60629 VOLCANO'S              129 E HARWOOD ROAD   IIURST   TX      76054   · 18. 16666667
     158<C87 49bda8118blla170155c51 ebfc9fe818dlaebba88           1300655681   3120/11 9:15PM      3120/11 9:32PM               60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054   -17.06666667
     158<C87 49bda81 18b9a 170155c51ablc9fe818dlaebba88           130065674 1  3120/11 9:33PM      312011 1 9:50PM              60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054   -17.01666667
     158<C87 49bda8118b9a170155c51ablc9fe818dfaobba88             1300657852   3120/11 9:51 PM    3120/11 10:11 PM              60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054              -20.2
     158<C87 49bdo8118b9o170155c51ablc9fe8 18dloebbaOO            1300659110  312011 1 10:12 PM   3120/11 10:30 PM              60629 VOLCANO'S              129 E HARWOOD ROAD   HURST    TX      76054   ·11 .93333333

PLAYER ID INFORMATION:

PERSONA·49BDA81F
LIFE_ID. 98633
NICKNAME: ONEHOLEWONDR I.
EMAIL: wwt0do101epyahoo.com
~al_namo· THOMAS OUVAS.
ADDRESS. OLD: 214 BROOKSIDE, Gropcvinc. TX, 76051
ADDRESS NEW 1603C Oak Creek ln. Bedford, TX, 76022

NOTES ON METHODOLOGY

Trus data was produced by the loiOYilng means·

1) IT's permanen1 player database was queried regarding players having the ~al name "'Thomas      o•vas· and/or the niclmame   ·ono
                                                                                                                                  Whole Wonder:
2) The player ID Information found above was returned by the database query.
3) The player 10 information was used to query IT's game ploy database tor al plays by tne Persona odontJfied In step 2 be'-en March 18. 2011
and March 22. 201 1 The dales sot l ortn In the Subpoena Duces TeaJm ""'rc extended by one day in either direction to olow for games v.tlich
started or ended duOng the Subpoena period but v.tllch ended or began outside ol it
4) Tho raw data produced by the database quenos Ill Steps 2 and 3 was outputlo on Excel spreadsheet.
5) The Excel spreadsheet (this document) was lormaued lor ctartty and these notes were added. NO DATA PRESENT IN IT'S OATABASE IN
RESPONSE TO THE QUERIES DESCRIBED WAS REMOVED OR MODIFIED ANO NO DATA WAS ADDEO OTHER THAN THESE NOTES.

All databases queried lor purposes ol this response aro maintained by IT in tho regular course ol its business and al dolo contaoned therein is recorded
subsequent to and 1n the regular course o l IT's business, and such data Is collected at or near the lime ol tho actual events documented therein.
The data set forth above IS a physical repfesentation ol the electronic data stored by IT In the regular course ol its business. v.tllch is not usualy
recorded an physical lorm O!her than as electromc •nfonnation. and such cons~lutes as exact a duplicate ol such information as may reasonably be
created.
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  DEFENDANT'S
 EXHIBIT NO. 287
               (Chart on Easel Paper)

             Original exhibit on file with the District Clerk.
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